19-36300-cgm          Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                      Main Document
                                                 Pg 1 of 66


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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s, Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue New York, New York 10017.
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                           Pg 2 of 66


                  DECLARATION OF MOHSIN Y. MEGHJI,
       CHIEF RESTRUCTURING OFFICER OF BARNEYS NEW YORK, INC.,
 IN SUPPORT OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS


       I, Mohsin Y. Meghji, hereby declare under penalty of perjury:

       1.      I am the Chief Restructuring Officer of Barneys New York, Inc., a corporation

organized under the laws of Delaware and one of the above-captioned debtors and debtors in

possession (collectively, the “Debtors” or “Barneys”).

       2.      I have served in this role since August 5, 2019. Prior to becoming the Debtors’

Chief Restructuring Officer, I advised the Debtors in my capacity as Managing Partner of M-III

Advisors, LP (“M-III”) beginning June 26, 2019. In my capacity as Chief Restructuring Officer,

I am generally familiar with the Debtors’ day-to-day operations, business and financial affairs, and

books and records.     I submit this declaration to assist the Court and parties in interest in

understanding the circumstances compelling the commencement of these chapter 11 cases and in

support of the Debtors’ chapter 11 petitions and certain motions and applications filed today.

       3.      Except as otherwise indicated, all facts in this declaration are based upon my

personal knowledge, my discussions with the Debtors’ management team and advisors, my review

of relevant documents and information concerning the Debtors’ operations, financial affairs, and

restructuring initiatives, or my opinions based upon my experience and knowledge. I am over the

age of eighteen and authorized to submit this declaration on behalf of the Debtors. If called upon

to testify, I could and would testify competently to the facts set forth in this declaration.

                                      Preliminary Statement

       4.      Barneys—an iconic luxury retailer and Manhattan staple since 1923—is suffering

under severe liquidity constraints. Barneys, like many other retail and apparel-focused companies,

has suffered as of late from adverse macro-trends as well as certain operational shortfalls. More




                                                   2
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                           Pg 3 of 66


specifically, the general shift from brick-and-mortar retail has been further exacerbated by sharp

increases in Barneys’ lease obligations, including over ten million dollars in rent increases on an

annualized basis and corresponding letter of credit obligations, which severely decreased EBITDA

and significantly constrained liquidity. Due to these pressures, Barneys has been operating without

sufficient liquidity throughout the summer of 2019. Cash-on-delivery demands have paralyzed

the inventory stream. Efforts to raise incremental liquidity or implement an actionable holistic

solution to these issues, in each case on an out-of-court basis, did not bear fruit. As a result,

Barneys is unable to procure necessary inventory for sale or otherwise fund its operations.

       5.      The Debtors and their advisors worked tirelessly to solicit and develop various

strategic alternatives throughout June, July, and August of this year, including simultaneous

financing and sale marketing processes with more than three dozen strategic or financial investors,

the majority of which became restricted and received confidential information. With respect to

financing, the Debtors explored new money solutions in the form of junior debt or equity capital.

The Debtors also considered certain consignment arrangements and requested concessions from

lessors to enhance and preserve liquidity. With respect to a potential sale transaction, several

strategic and financial investors expressed interest in acquiring Barneys as a going concern. The

Debtors’ intellectual property, including its brand equity, also received meaningful market interest.

Several parties engaged in substantial due diligence and submitted indications of interest. Despite

substantial, around-the-clock efforts—and some very close calls—the Debtors ran out of time to

execute an out-of-court transaction that would address their liquidity challenges and otherwise

position Barneys for long-term success. Many of these investors nonetheless remain interested in

Barneys, and the Debtors intend to continue exploring potential transactions with such parties on

a postpetition basis to maximize value for the benefit of all stakeholders.




                                                 3
19-36300-cgm       Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                           Pg 4 of 66


       6.      Barneys determined to commence these chapter 11 cases to conduct an operational

rightsizing, including an evaluation and adjustment to its lease portfolio, explore value-

maximizing transactions, including a going concern sale, and obtain postpetition financing

necessary to fund these chapter 11 cases and provide operating capital on a go-forward basis.

These circumstances led to negotiations with Barneys’ secured lenders, certain potential third-

party lenders, and equity owners regarding the terms of a comprehensive restructuring that would,

among other things, provide immediate access to liquidity and preserve value through an efficient

and expeditious going concern market test. These negotiations were successful.

       7.      The proposed debtor-in-possession financing and related bidding procedures are

designed to facilitate a process that market tests the assets, optimizes the Company’s brick-and-

mortar footprint, and sets the Debtors on a path to consummating a value-maximizing transaction,

all within two months. The proposed process minimizes the Debtors’ expected stay in chapter 11

and related costs. As comparable retail chapter 11 cases have shown, moving the process forward

expeditiously is critical to the Debtors’ ability to continue operating as a going concern.

       8.      As described in more detail below, Hilco Global and Gordon Brothers Retail

Partners, LLC (collectively, “Hilco”) have proposed to provide up to $75 million in postpetition

financing, $50 million of which would be used to pay down the Debtors’ prepetition secured debt

and $25 million of which would be available as incremental liquidity to fund these chapter 11 cases

and optimize the business. The milestones applicable to the financing arrangements include:

               •   no later than September 5, 2019, the Court shall have entered a final order
                   approving the DIP Facility;

               •   no later than September 25, 2019, the Debtors shall have received a qualified
                   bid in connection with the sale process;

               •   if the foregoing milestone is not met, the Debtors shall immediately commence
                   a full liquidation of their assets;




                                                 4
19-36300-cgm       Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50              Main Document
                                           Pg 5 of 66


               •   no later than October 1, 2019, a hearing to approve the sale of all or substantially
                   all of the Debtors’ assets shall have been held; and

               •   no later than October 4, 2019, the Court shall have approved the sale and the
                   sale shall have closed.

       9.      In the meantime, the Debtors will work closely with their advisors on closing

underperforming stores and negotiating go-forward concessions with remaining landlords to

ensure long-term viability. The Debtors expect to complete at least fifteen store closings (and

vacate such premises) within the first thirty days of these chapter 11 cases.

       10.     The key to achieving a restructuring is speed and cooperation. As such, the new

money financing is highly conditioned on moving efficiently and expeditiously through these

chapter 11 cases with support from all major stakeholders, including lenders, trade vendors, and

landlords. In an ever-shifting retail landscape that has seen dozens of casualties over the past few

years, the Debtors can maximize value for the benefit of all stakeholders so long as all parties in

interest work collaboratively to ensure that these chapter 11 cases stay on time and track.

       11.     To familiarize the Court with the Debtors, their business, the circumstances leading

to these chapter 11 cases, and the relief the Debtors are seeking in those certain motions and

applications filed contemporaneously herewith, I have organized this declaration as follows:

       •       Part I provides a general overview of the Debtors’ corporate history
               and operations;

       •       Part II describes the circumstances leading to these chapter 11
               cases;

       •       Part III provides an overview of the Debtors’ prepetition corporate
               and capital structure;

       •       Part IV describes the Debtors’ prepetition strategic and financing
               initiatives;

       •       Part V describes the Debtors’ proposed debtor-in-possession
               financing;




                                                  5
19-36300-cgm      Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 6 of 66


       •       Part VI sets forth the evidentiary basis for the relief requested in
               each of the first day pleadings; and

       •       Part VII sets forth certain additional information about the Debtors,
               as required by Local Rule 1007-2.

I.     Barneys’ Corporate History and Business Operations.

       A.      The Barneys Brand.

       12.     Originally conceived in 1923 when Barney Pressman pawned his wife’s

engagement ring to lease a small Manhattan store with 200 feet of frontage at the corner of

Seventh Avenue and 17th Street, Barneys has grown from a downtown Manhattan-based men’s

retailer into an international arbiter of high style for both women and men and an iconic fashion

institution. Throughout the 1970s, Barneys became renowned for discovering and developing new

and innovative design talent. The once-local specialty retailer garnered acclaim for its ability to

push the fashion industry forward by opening its doors to mesmerizing collections from the

world’s top designers, including women’s and men’s ready-to-wear, accessories, shoes, jewelry,

cosmetics, fragrances, and gifts for the home.

       13.     In the late 1980s, Barneys sought to expand its business outside Manhattan by

developing a national chain of department stores. To secure the financing necessary for this

endeavor, Barneys partnered with Isetan Co. (“Isetan”), one of Japan’s largest retailers and a

leading department store chain in Tokyo. Under this arrangement, Barneys was to provide Isetan

with expertise in merchandising and store design in exchange for the financing needed to construct

stores in New York, Chicago, and Beverly Hills. In 1993, Barneys achieved a corporate milestone

when it opened its first store outside Manhattan, in Beverly Hills. By the mid-1990s, however,

Barneys became entangled in a dispute with Isetan with respect to its capital investment in Barneys.

The dispute culminated in Barneys’ voluntary chapter 11 petition in 1996 and its contemporaneous

lawsuit against Isetan to recoup millions in real estate payments.



                                                 6
19-36300-cgm      Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 7 of 66


       14.     When Barneys completed its chapter 11 reorganization in 1998, it received

approximately $62 million in new capital from former unsecured creditors, Bay Harbour

Management L.C. (“Bay Harbour”) and Whippoorwill Associates Inc. (“Whippoorwill”), in

exchange for over 70% of Barneys’ reorganized equity. The reorganization plan also resolved

Barneys’ dispute with Isetan. Bay Harbour and Whippoorwill retained control of Barneys until

2004, when both controlling shareholders sold their interest in Barneys to Jones Apparel Group,

Inc. (“Jones”) for approximately $294 million in cash and Jones’ assumption of approximately

$106 million in debt.

       15.     Three years after purchasing Barneys, Jones sold its interest in Barneys to certain

funds related to Istithmar World (“Istithmar”) on August 8, 2007, pursuant to an amended and

restated definitive stock purchase agreement for approximately $942 million in cash. Leveraged

financing funded slightly over half of the purchase price.        In early March 2012, Barneys,

represented by Kirkland & Ellis LLP (“K&E”) and Blackstone Group LP, completed a consensual

out-of-court restructuring among Barneys, Perry Capital, LLC (“Perry Capital”), the Yucaipa

Companies, LLC (“Yucaipa”), and Istithmar, designed to permit each class of creditors to receive

a recovery consistent with their own view of the value of Barneys. In May 2012, Barneys struck

a deal with Perry Capital that reduced its debt from approximately $590 million to approximately

$50 million, and turned Perry Capital into its majority owner along with Yucaipa and Istithmar

holding minority positions. As described below, these parties remain the Debtors’ sole equity

holders.

       B.      Barneys’ Business Operations.

       16.     Barneys operates a network of fine specialty retail stores and outlets across three

business channels: (a) flagship stores; (b) warehouse stores; and (c) digital platforms.




                                                 7
19-36300-cgm      Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                            Pg 8 of 66


                        Flagship Stores.

        17.     Barneys leases its flagship stores in New York City, Beverly Hills, Chicago,

Boston, San Francisco, Seattle, and Las Vegas. Comprising well over half of total consolidated

sales, the Debtors’ thirteen flagship stores constitute the key component of Barneys’ core business.

In recent years, Barneys remodeled its legacy flagship stores with a focus on growing sales through

a revamped merchandise assortment and improved shopping environment. Several flagship stores

also operate a “Fred’s” restaurant, which the Debtors own and operate.

                        Warehouse Stores.

        18.     Barneys operates approximately nine warehouse stores nationwide. The warehouse

stores allow Barneys to efficiently transfer designer merchandise from its flagship stores to an off-

price setting, thus attracting a lower price point customer base. Most of Barneys’ peers utilize

similar supply chain logistics to liquidate excess inventory.

                        Digital Platforms.

        19.     Barneys    maintains     two    e-commerce      websites,    www.Barneys.com         and

www.BarneysWarehouse.com, and mobile applications across a variety of digital platforms. To

keep apace of the rise of online retail, Barneys has historically invested significantly into its digital

presence. Barneys’ online business has steadily developed into a profitable and promising revenue

channel. Most recently, Barneys achieved rapid digital sales growth of 12.4% in FY 2018, with

e-commerce constituting approximately 30% of Barneys’ revenue.

        C.      Critical Components of the Debtors’ Cost Structure.

                        Supply Chain.

        20.     The Debtors maintain an integrated supply chain aimed at ensuring the

uninterrupted flow of fresh merchandise to their brick-and-mortar locations. Generally, the

Debtors contract with various domestic vendors to design and source the merchandise from foreign



                                                   8
19-36300-cgm        Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50                   Main Document
                                              Pg 9 of 66


manufacturers. In limited circumstances, the Debtors contract with foreign manufacturers directly.

Depending on the nature of the Debtors’ arrangement with a given vendor or manufacturer, the

Debtors ship the merchandise to a domestic warehouse that serves as the Debtors’ distribution

center.

                         Employee Compensation and Benefits.

          21.    The Debtors employ approximately 2,300 employees, including approximately

2,100 full-time employees and approximately 200 part-time employees (collectively,

the “Employees”). Approximately 900 Employees are members of a labor union (collectively, the

“Union Employees”).2 The Debtors offer their Employees the ability to participate in a number of

insurance and benefits programs, including, among other programs, medical, prescription drug,

dental, and vision plans, flexible benefits plans, workers’ compensation, life insurance, accidental

death and dismemberment insurance, disability benefits, retirement plans, and other employee

benefit plans. As the Debtors implement right-sizing measures, including a reduced physical store

footprint, the Debtors believe a more efficient allocation of employees will present a significant

opportunity for savings.

                         Real Estate Obligations.

          22.    The Debtors lease all of their store locations. The majority of the Debtors’ leased

premises reside in New York, consisting of (a) their corporate headquarters, (b) two New York

City flagship stores, including their historic Madison Avenue location, (c) two warehouse stores,

including their Central Valley, New York location, (d) a web studio, and (e) a visual arts studio.



2   The Union Employees are members of one of the three following unions (collectively, the “Unions”):
    (a) New York New Jersey, Joint Board, Workers United; (b) Philadelphia Joint Board, Workers United; and
    (c) Western States Regional Board, Workers United. The Union Employees work at stores located in Brooklyn,
    New York City, Long Island City, Philadelphia, Las Vegas, Los Angeles, and the Lyndhurst Distribution Center.
    The Debtors are party to collective bargaining agreements with local chapters of the Unions.




                                                       9
19-36300-cgm      Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                         Pg 10 of 66


The Debtors anticipate seven go-forward locations following certain store closures (described in

greater detail below). The remaining store presence is anticipated to be comprised of five flagship

stores and two warehouse stores.

       23.     Recognizing the need to right-size their store footprint to align with industry

conditions, the Debtors’ management team and advisors undertook an extensive analysis of the

Debtors’ existing store footprint to determine if (and how many) stores the Debtors should close

in connection with their broader financial and operational restructuring initiatives. The Debtors’

management team and advisors ultimately determined that it is appropriate to close fifteen

unprofitable brick and mortar store locations (the “Stores”).

       24.     In formulating the list of Stores, the Debtors considered, among other factors,

historical store profitability, recent sales trends, the geographic market in which the store is

located, the potential to realize negotiated rent reductions with applicable landlords, and specific

circumstances related to a store’s performance. Each of the Stores identified for closing has

historically operated at a loss. Collectively, the Stores generated approximately $14.2 million in

losses for fiscal year 2018, which represents 98 percent of the Debtors’ total losses from stores

with negative contribution margin. The Stores to be closed include both flagship and warehouse

stores (the “Store Closings”). The Debtors anticipate seven go-forward locations following certain

store closures. The remaining store presence is anticipated to be comprised of five flagship stores

and two warehouse stores.

       25.     Significantly, delay in consummating the Store Closings would diminish the

recovery tied to monetization of the Store Closure Assets for a number of reasons. First, the Stores

fail to generate positive cash flow and therefore are a drain on liquidity. Thus, the Debtors will

realize an immediate benefit in terms of liquidity upon the sale of the Store Closure Assets and the




                                                10
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                          Pg 11 of 66


termination of operations at the Stores. Second, the swift and orderly commencement of Sales will

allow the Debtors to timely reject the applicable Store leases, and therefore avoid the accrual of

unnecessary administrative expenses on account of rent payments. The delay of the Store Closings

may cause the Debtors to incur additional postpetition rent at many of these stores, at a possible

cost to the estate of up to $2.2 million per month.

II.    Events Leading to These Chapter 11 Cases.

       26.     Since 2012, the Debtors opened four new locations, including New York,

New York, San Francisco and Livermore, California, and Rosemont, Illinois to achieve their

current retail footprint of twenty-two flagship stores and warehouse locations. During this period,

the Debtors also invested in renovating their legacy flagship stores, as described above, as well as

their operational infrastructure and digital platforms to provide a top-of-class digital customer

experience available across a variety of mobile and web platforms. In recent years, however, the

Debtors have consistently experienced decreased EBITDA due to increased operating expenses

and decreased sales revenue as a result of the challenging macro retail and promotional sales

environment. In addition, recent rent increases and corresponding credit support obligations in

key locations, coupled with an onerous debt load, have challenged the Debtors’ operations. As

described below, these factors came to a head in 2019.

       27.     A confluence of factors contributed to the Debtors’ need to commence these

chapter 11 cases. These include macroeconomic factors—including most significantly, the general

downturn in the retail industry, which has led to a decrease in sales, competitive sales promotions

resulting in reduced profit margins, and the marked shift away from brick-and-mortar retail to

online channels. These also include microeconomic factors—primarily a sharp increase in lease

and rental obligations and a downturn in spring 2019 sales volumes. Over time, these factors have

tightened the Debtors’ liquidity and complicated their vendor relationships. As described above



                                                 11
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 12 of 66


and in further detail below, these factors culminated in a liquidity crisis by summer 2019, when

Barneys faced dwindling cash flows, inaccessible inventory, the inability to access even

incremental liquidity, and sales projections well below historical numbers.

       A.      Challenging Operating Environment and Increased Rent Obligations.

       28.     The Debtors, along with many other apparel and retail companies, have faced a

challenging commercial environment over the past several years brought on by increased

competition and the shift away from shopping at brick-and-mortar stores. Given the Debtors’

brick-and-mortar presence, and the expenses associated therewith, the Debtors’ business has been

heavily dependent on physical consumer traffic, and resulting sales conversion, to meet sales and

profitability targets. In particular, the Debtors experienced a sharp increase in rent obligations and

corresponding credit support obligations of approximately $12 million and $6 million,

respectively, as compared to FY 2018. The combination of the above factors, and others plaguing

the retail industry as a whole, contributed to the Debtors falling short of their sale targets and

depressed profitability performance.

       B.      Supply Chain and Borrowing Base Challenges.

       29.     The Debtors’ retail sales substantially underperformed expectations in the first half

of 2019. This has been especially true at the Debtors’ locations outside of major metropolitan

markets. In particular, the challenging sales performance from February to June 2019 resulted in

a decrease of revenue of $34 million as compared to the same period for the prior fiscal year. In

particular, the lenders (the “ABL Lenders”) under the Debtors’ prepetition asset-based revolving

credit facility (the “ABL Facility”) increased the discretionary reserve under the ABL Facility by

approximately $5 million in response to the Debtors’ weak sales performance, further constraining

access to operating capital. These pressures led to a buildup in excess merchandise at unprofitable




                                                 12
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                          Pg 13 of 66


locations, while other, more profitable locations were unable to meet demand. The ensuing lack

of liquidity has made it difficult for the Debtors to appropriately allocate merchandise.

       30.     The historically low sales volume anticipated during July further complicated the

liquidity shortage confronting the Debtors during the summer of 2019.            Moreover, July is

characterized by committed payments, such as rent, payroll, sales tax, and purchase card expenses

totaling approximately $34.5 million, which leave minimal funds to satisfy the Debtors’ vendor

base. As the Debtors’ liquidity tightened, supply chain vendors began to place pressure on the

supply chain cost structure. During summer 2019, merchandise shipments and inventory receipts

began to slow due to liquidity tightness and a lack of vendor and factor support. Prior the Petition

Date, substantial numbers of vendors refused to ship inventory unless the Debtors paid cash on

delivery, resulting in shelf-ready merchandise being stranded. The lack of fresh and sufficient

inventory further tightens the Debtors’ liquidity (including by reducing the borrowing base under

the ABL Facility), creating a negative feedback loop. Without the flow of fresh inventory, the

Debtors’ retail business will effectively starve.

       31.     A critical component of the Debtors’ proposed postpetition financing debtor-in-

possession term loan facility (the “DIP Facility”), described in greater detail below, is securing

approximately $25 million in incremental liquidity to fund the Debtors’ operations and providing

sufficient runway to canvas market interest in a going concern sale process.           Maintaining

operations in the ordinary course will preserve the value of the Debtors’ business as a going

concern. The proposed DIP Facility balances the Debtors’ interest in pursuing a going concern

transaction (i.e., what the Debtors believe will maximize value) with the DIP lenders’ interest in

monetizing their collateral package without incremental value leakage (i.e., what the prepetition

lenders are willing to finance).




                                                    13
19-36300-cgm           Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                       Main Document
                                                 Pg 14 of 66


III.       The Debtors’ Prepetition Corporate and Capital Structure.

           32.      The Debtors’ corporate enterprise consists of Debtor entities Barneys New York,

Inc., Barney’s, Inc., BNY Catering, Inc., BNY Licensing Corp., and Barneys Asia Co. LLC. A

simplified illustration is set forth below.3




           33.      As of the Petition Date, the Debtors have outstanding debt obligations in the

aggregate principal amount of approximately $190 million under the ABL Facility and Term Loan

Facility that is secured on a first priority basis by substantially all of the Debtors’ assets under the

Credit Agreement (as defined below).




3      The chart, attached hereto as Exhibit A, depicts the Debtors’ current corporate and capital structure.




                                                            14
19-36300-cgm          Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                     Main Document
                                                Pg 15 of 66


      Funded Debt                Lenders               Maturity           Interest Rates        Principal Amount

                                   Wells                             Base Rate + Applicable
       ABL Facility            Citizens Bank         Dec. 19, 2023    Margin OR LIBOR +           $141 million4
                                 TD Bank                               Applicable Margin


                                   Wells                               LIBOR + 7.00% OR
    Term Loan Facility                               Dec. 19, 2023                                $48.8 million
                                   TPG                                  Base Rate + 6.00%

                                                                                                  $189.8 million



          34.      In addition to funded debt obligations, Debtor Barney’s, Inc. has outstanding

unsecured trade debts (e.g., amounts owed to trade vendors, suppliers, landlords) that total

approximately $100 million as of the Petition Date.

          A.       The ABL Facility.

          35.      The Debtors are party to that certain Amended and Restated Revolving Credit and

Term Loan Facility Agreement, dated as of June 5, 2012, (as amended, restated, supplemented, or

otherwise modified from time to time prior to the Petition Date, the “Credit Agreement”) by and

among Barney’s Inc., as lead borrower, the remaining Debtors as guarantor parties thereto, the

ABL Lenders, and Wells, as administrative agent (in such capacities, together with its successors

and assigns, the “ABL Agent”). The Credit Agreement provides for a $225 million ABL Facility

(subject to a borrowing base composed primarily of inventory and credit card receivables) with a

maturity date of December 19, 2023.

          36.      The ABL Facility provides for LIBOR loans and Base Rate loans. The LIBOR

loans bear interest at LIBOR plus an applicable margin of (a) 2.00% if the Quarterly Average

Excess Availability (as defined in the Credit Agreement) exceeds $100,000,000 or (b) 2.25% if

the Quarterly Average Excess Availability is equal to or less than $100,000,000. The borrower


4     This amount includes approximately $26 million in undrawn letter of credit obligations.




                                                         15
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                          Pg 16 of 66


may elect interest periods with respect to the LIBOR loans; provided that interest payments under

these loans occur at least every three months. The Base Rate loans bear interest at a Base Rate

plus an applicable margin of (x) 1.00% if the Quarterly Average Excess Availability exceeds

$100,000,000 or (y) 1.25% if the Quarterly Average Excess Availability is $100,000,000 or less.

       37.      Obligations under the ABL Facility are secured by an all asset lien, including,

without limitation, a first priority lien on the Debtors’ accounts (including receivables), inventory,

deposit accounts, security accounts, cash and cash equivalents, intellectual property, and all equity

interests of the Debtors and their subsidiaries (collectively, the “Collateral”).

       38.      Additionally, the Debtors have entered into deposit account control agreements in

favor of the ABL Agent with respect to their bank accounts. Thus, substantially all of the Debtors’

cash is subject to a perfected security interest in favor of the ABL Agent. Due to the non-payment

of rental obligations and alleged events of default under the corresponding leases, the ABL Agent

notified the Debtors of an alleged Event of Default under the Credit Agreement. As a result of this

Event of Default, the Debtors are required to remit all cash receipts on a daily basis to a non-Debtor

account maintained by the ABL Agent (the “Agent Account”). Accordingly, each day, any excess

cash is swept to the Agent Account and applied to prepay loans in accordance with the ABL

Facility. Due to the alleged Event of Default, there was no availability under the ABL Facility as

of the Petition Date. On August 5, 2019, the ABL Lenders and the ABL Agent terminated the

ABL Facility.

       B.       The Term Loan Facility.

       39.      In April 2019, the Credit Agreement was amended to provide for the issuance of a

last-out term loan (the “Term Loan Facility”) with Barney’s, Inc., as borrower, the remaining

Debtors as guarantor parties thereto, the lenders thereto (the “Term Loan Lenders”), and Wells, as

administrative agent. The Term Loan Facility provides for a loan in an original principal amount



                                                  16
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                          Pg 17 of 66


of $50 million, with a maturity date of December 19, 2023. Obligations under the Term Loan

Facility are secured by the Collateral.

       40.     The LIBOR loans bear interest at LIBOR plus 7.00%, and the Base Rate loans bear

interest at Base Rate plus 6.00%. Interest on the Term Loan Facility is due on the first calendar

day of each month. As of the Petition Date, approximately $48.8 million in aggregate principal

amount remained outstanding under the Term Loan Facility. Upon an Event of Default and notice

to the ABL Agent by the Requisite Lenders (as defined in the Credit Agreement) or upon an

acceleration of the obligations in connection with an exercise of remedies under the Credit

Agreement, the Term Loan Facility payments are subordinate to payment to the ABL Lenders until

the ABL Facility obligations are paid in full (other than Bank Products Obligations (as defined in

the Credit Agreement) in excess of a $5 million cap).

       C.      Ownership Interests.

       41.     As of the Petition Date, the ownership interests of each Debtor is 100% held by its

immediate parent. Common stock in Debtor Barneys New York, Inc., the ultimate parent entity,

is held by certain funds related to Perry Capital (approximately 72%), Yucaipa (approximately

20%), and Istithmar (approximately 8%).

IV.    Prepetition Strategic and Financing Initiatives.

       A.      Operational Right-Sizing Initiatives.

                       Landlord Engagement.

       42.     In response to their lease pressures, the Debtors’ undertook efforts to obtain lease

concessions and rent abatements from their landlords throughout spring 2019. For example,

members of the Debtors’ management team met with the landlord for the Debtors’ Chicago

flagship store during January 2019 in response to requested letter of credit obligation increases of

approximately $6 million seeking (a) a rent reduction, (b) reduced letter of credit obligations to



                                                17
19-36300-cgm        Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                     Main Document
                                              Pg 18 of 66


three months’ rent (as compared to six months’ rent), and (c) authorization for a partial sublease

of the leased premises. With respect to its Madison Avenue flagship store, the Debtors sought a

reduction in the rent increase for the first one to two years and a standstill on letter of credit

obligations. The Debtors sought similar rent reductions with respect to their Las Vegas flagship

store.

                          Sales Promotions.

         43.     To increase sales revenue and generate traffic to their physical stores, the Debtors

conducted in-store sales promotion throughout 2019. These promotions included merchandise

markdown by approximately $70 million, an approximate 76% mark-down rate.                                    These

promotions generated approximately $6 million in incremental sale proceeds, an increase of

approximately 2% compared to the same period for the prior fiscal year. Despite these efforts, the

Debtors were unable to generate sufficient revenue in light of their significant operating expenses.

With a negative cash flow expected for most of the first half of FY 2019, the Debtors determined

to explore financing initiatives to provide necessary liquidity to fund operations and unlock

dormant inventory.

         B.      The Need for Imminent Liquidity.

                          The Term Loan Facility.

         44.     During the early spring of 2019, the Debtors faced a liquidity crisis following

sustained market conditions, operational losses, and significant increases in rent and related lease

obligations. The Debtors, with the assistance of K&E,5 evaluated funding alternatives necessary

to obtain liquidity critical to unlocking withheld inventory and implementing Barneys’ go-forward



5   Katten Muchin Rosenman LLP (“Katten”) will act as co-counsel to the Debtors’ lead counsel, K&E. Katten will
    work on conflict matters as well as other matters that Katten is able to handle more efficiently, and matters the
    Debtors may delegate to Katten.




                                                        18
19-36300-cgm      Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                            Pg 19 of 66


business plan. To obtain liquidity to fund inventory purchases and operating capital in advance of

the summer season, the Debtors negotiated with Wells and TPG Specialty Lending, Inc. (“TPG”)

and ultimately obtained $50 million in the form of the Term Loan Facility described above.

Decreased sales figures and ongoing rental pressures, however, proved the Term Loan Facility

insufficient to overcome the Debtors’ ongoing operational issues. In response, the Debtors and

their advisors determined that, given their severe liquidity constraints and the need to unlock

inventory for sale during the summer season, new money in the form of attractive secured

financing was critical.

                          Concurrent Marketing Efforts.

       45.     At the same time the Debtors were exploring options for increasing liquidity, they

conducted a marketing process. The Debtors prepared a list of thirty-eight potential investors

(including various financial sponsors and strategic buyers) that were considered likely participants

in a sale process. Following the initial outreach to the identified thirty-eight parties, information

was provided to these parties to gauge their interest prior to executing a non-disclosure agreement

(“NDAs”). Twenty-five parties executed NDAs. Parties who executed NDAs received access to

a dataroom. After the Debtors’ initial outreach, two financial institutions and three non-financial

parties, expressed preliminary interest and submitted non-binding letters of interest. In some

instances, the parties negotiated definitive documents and sought necessary consents. The Debtors

developed such proposals as much as they could have in advance of commencing these chapter 11

cases. Given the Debtors’ limited runway and certain necessary consents, however, they were

unable to execute on any such out-of-court transaction.

                          Efforts to Obtain Incremental Working Capital.

       46.     In response to the liquidity shortfall, the Debtors engaged M-III to act as financial

advisor, and Houlihan Lokey, Inc. (“Houlihan”), as investment banker, in connection with a



                                                 19
19-36300-cgm      Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                            Pg 20 of 66


potential financing and/or other strategic transaction. The Debtors, with the assistance of their

advisors, evaluated funding alternatives necessary to obtain liquidity critical to unlocking withheld

inventory and implementing Barneys’ go-forward business plan. During July 2019, the Debtors

and their advisors negotiated with their prepetition lenders, equity holders, potential strategic

investors, and other potential third-party investors to facilitate a new money investment. Proposed

financing alternatives generally took the form of junior secured debt. For example, one financing

alternative was structured as a secured note convertible into common equity. Another financing

alternative involved a consignment arrangement whereby a financial investor would fund the

Debtors’ suppliers directly.

                       Landlords Exercise Remedies.

       47.     The Debtors elected to enter the grace periods under their leases to preserve

liquidity. Several lessors sent notices to the Debtors in connection with the non-payment of rent.

The Debtors engaged with and ultimately obtained forbearances from many of their lessors tp

forestall the exercise of remedies. Although many lessors agreed to such forbearances for limited

durations, the constant overhang of lessors exercising remedies in the near term—especially with

respect to the Debtors’ flagship stores—amplified the timing demands with respect to the financing

and sales transaction alternatives. When the lessors would not afford the Debtors any additional

runway to implement an out-of-court transaction, the Debtors, in consultation with their advisors,

determined it was in the best interests of their estates to commence these chapter 11 cases.

V.     The Proposed DIP Financing and Marketing Process.

       48.     In connection with the chapter 11 filing, the Debtors, with the assistance of their

advisors, undertook a process for identifying sources of capital on the best available terms. This

marketing process focused on developing proposals with (a) the Debtors’ existing funded debt and

equity stakeholders, and (b) alternative sources of capital from parties outside the Debtors’ existing



                                                 20
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                          Pg 21 of 66


capital structure. Specifically, the Debtors and their advisors contacted twenty-three banks and

institutions in the business of extending postpetition financing under similar circumstances,

twenty-one of whom executed non-disclosure agreements and gained access to a data room

established by Houlihan.     To date, two financial institutions have provided DIP financing

proposals, in addition to three proposals from non-financial parties, as described below. The

remaining parties declined to provide financing proposals, citing the compressed timeline, priming

concerns, and the likely high costs of third-party senior financing.

       49.     As described above, the Debtors began their outreach by engaging in good faith,

arm’s-length negotiations with their ABL Lenders and Term Loan Lenders to provide a source of

incremental liquidity to fund their operations. Despite the Debtors’ outreach, the ABL Lenders

were not interested in providing the Debtors with incremental liquidity beyond the existing

borrowing base less then applicable reserves under the ABL Facility. One of the Debtors’ Term

Loan Lenders, TPG Specialty Lending (“TPG”), provided a proposal to advance $10 million in

new money through a multi-draw term loan (the “TPG Proposal”). TPG’s proposal would have

given them a first lien on all unencumbered assets, and a junior lien on all encumbered assets. The

TPG Proposal required the Debtors to pursue “going-out-of-business” sales at all but two of their

brick and mortar locations within two days of the Petition Date.

       50.     In parallel with discussions with their incumbent lenders, the Debtors and their

advisors worked diligently to evaluate options for third-party DIP financing.         Specifically,

Houlihan contacted twenty-five banks and institutions in the business of extending postpetition

financing under similar circumstances, twenty-three of whom executed non-disclosure agreements

and gained access to a data room established by Houlihan. Through those efforts, the Debtors

received an additional four preliminary, non-binding proposals for incremental financing,




                                                 21
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 22 of 66


including proposals from (a) a group of third-party financial institutions (the “Investor Group”),

(b) a specialty finance firm, (c) one of the Debtors’ landlords, and (d) a potential purchaser of the

Debtors’ intellectual property. The proposals received from the Debtors’ landlords and a potential

purchaser of the Debtors’ intellectual property were each insufficient in amount to adequately fund

the contemplated sale process and as such were not pursued further.

       51.     On July 28, 2019, the Debtors received a preliminary, non-binding proposal from a

group of third-party financial institutions (the “Investor Group”). This proposal (the “Investor

Proposal”) contemplated providing approximately $75 million of financing secured by liens junior

to the ABL Facility. Fifty million of the proceeds from the Investor Proposal would repay a portion

of the ABL Facility, as required by the Prepetition Lenders to obtain their consent to the proposed

financing. Absent the Prepetition Lenders’ consent, the Debtors would not have had a meaningful

ability to obtain DIP financing. The Investor Proposal also included terms and conditions for

additional liquidity through a consignment program, which in subsequent discussions they

indicated could be available to the Debtors on advantageous terms.

       52.     On August 1, 2019, the Debtors received a preliminary, non-binding proposal from

Hilco Global and Gordon Brothers Retail Partners, LLC (the “Hilco Proposal”). After subsequent

negotiations, the Hilco Proposal contemplated $75 million of financing secured by junior liens on

all of the Debtors’ assets, $50 million of which will be used to pay down the Debtors’ prepetition

secured debt and $25 million of which will be available as incremental liquidity to fund these

chapter 11 cases and optimize the business (the “DIP Facility”). As stated previously, the

Prepetition Lenders require the $50 million pay down to obtain their consent to the proposed

financing. The Hilco Proposal also contained a consignment program that may allow the Debtors




                                                 22
19-36300-cgm      Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                         Pg 23 of 66


to substantially increase their inventory purchases. The Hilco DIP Facility contained more flexible

terms, conditions and covenants.

       53.     As set forth in greater detail in the Burian Declaration, these efforts culminated in

the DIP Facility that would fund the Debtors’ working capital needs and these chapter 11 process.

There are four key points to highlight with respect to the proposed DIP Facility. First, the DIP

Facility is being provided on a junior secured basis and the DIP Lenders will pay down the ABL

Facility with the Prepetition Lenders’ consent. This was a negotiated point, and the Debtors did

their best to obtain the consent of the ABL Lenders, absent this partial repayment. The ABL

Lenders insisted on this partial repayment, and would not otherwise consent to the proposed

financing. Absent the prepetition lenders’ consent, the Debtors would not have had meaningful

access to DIP financing. As a result, the Debtors are not facing value-destructive priming or

non-consensual use of cash collateral issues and have the full support from their secured lenders.

Second, the DIP Facility enables the Debtors to continue their marketing process at the outset of

these chapter 11 cases and attempt to realize a going-concern transaction. As set forth above, the

Debtors believe several parties in interest value their intellectual property and will pay a premium

for purchasing such assets insofar as the Debtors remain a going concern. Third, the DIP Facility

provides a bridge to implementing a transaction in the event the Debtors are unable to restructure

as a going concern. The Debtors’ secured lenders have provided a path forward if the market test

is unsuccessful through customary milestones, as described below. The Debtors will continue to

work to maximize value in all scenarios and circumstances. And fourth, as detailed in the Burian

Declaration, the DIP Facility represents the best available financing under the circumstances.

       54.     The Debtors have thus far largely been able to maintain operations (and thus the

continued trust of their customers) notwithstanding their liquidity challenges, however the Debtors




                                                23
19-36300-cgm          Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                      Main Document
                                                Pg 24 of 66


project they will run out of money as early as next week without an immediate infusion of

postpetition financing and access to cash collateral. In that scenario, the Debtors would be unable

to pay wages for their employees, taxes and fees to public authorities, or anticipated ordinary

course postpetition administrative expenses. Further, access to ample post-petition financing is

necessary to send a strong market signal that these chapter 11 cases are well-funded and there is a

path forward. Without access to the DIP Facility, the Debtors would likely need to liquidate

immediately to the detriment of the Debtors, their stakeholders, and all other parties-in-interest.

          55.      Preserving value for the benefit of the Debtors’ estates depends in large part on the

Debtors proceeding swiftly to consummating a value-maximizing transaction while minimizing

the effects of the Debtors’ chapter 11 cases on the Debtors’ brand—a critical component of the

value of their businesses. Due to the fact that retail customer sentiment shifts rapidly and

stakeholders (including key suppliers and landlords) often turn swiftly against apparel and retail

debtors, such debtors often do not fare well in bankruptcy—in many instances electing to liquidate

as opposed to reorganize. The Debtors intend to swiftly proceed with a fair and efficient process

to preserve and maximize the value of that achievement for enterprise-wide stakeholders.

VI.       Evidentiary Support for First Day Motions.6

          56.      Contemporaneously herewith, the Debtors filed a number of First Day Motions and

are seeking orders granting various forms of relief intended to stabilize the Debtors’ business

operations and facilitate the efficient administration of these chapter 11 cases. The First Day

Motions seek authority to, among other things, ensure sufficient liquidity to run the Debtors’

business, ensure the continuation of the Debtors’ cash management systems, and allow for other




6     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the respective
      First Day Motions.




                                                           24
19-36300-cgm         Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                       Main Document
                                               Pg 25 of 66


business operations without interruption. I believe that the relief requested in the First Day

Motions is necessary to give the Debtors an opportunity to work towards successful chapter 11

cases that will benefit all of the Debtors stakeholders.

        57.      The First Day Motions request authority to pay certain prepetition claims. I

understand that Rule 6003 of the Federal Rules of Bankruptcy Procedure provides, in relevant part,

that the Court shall not consider motions to pay prepetition claims during the first twenty-one days

following the filing of a chapter 11 petition, “except to the extent relief is necessary to avoid

immediate and irreparable harm.” In light of this requirement, the Debtors have narrowly tailored

their requests for immediate authority to pay certain prepetition claims to those circumstances

where the failure to pay such claims would cause immediate and irreparable harm to the Debtors

and their estates. Other relief will be deferred for consideration at a later hearing.

        58.      I am familiar with the content and substance of the First Day Motions. The facts

stated therein are true and correct to the best of my knowledge, information, and belief, and I

believe that the relief sought in each of the First Day Motions is necessary to enable the Debtors

to operate in chapter 11 with minimal disruption to its business operations and constitutes a critical

element in successfully implementing a chapter 11 strategy. A description of the relief requested

and the facts supporting each of the First Day Motions is detailed in Exhibit B.

VII.    Information Required by Local Bankruptcy Rule 1007-2.

        59.      Local Bankruptcy Rule 1007-2 requires certain information related to the Debtors,

which I have provided in the exhibits attached hereto as Exhibit C through Exhibit N.

Specifically, these exhibits contain the following information with respect to the Debtors (on a

consolidated basis, unless otherwise noted):7


7   The information contained in Exhibit C through Exhibit N attached to this declaration does not constitute an
    admission of liability by, nor is it binding on, the Debtors. The Debtors reserve all rights to assert that any debt



                                                          25
19-36300-cgm       Doc 22        Filed 08/06/19 Entered 08/06/19 11:30:50                      Main Document
                                              Pg 26 of 66


       •        Exhibit C. Pursuant to Local Bankruptcy Rule 1007-2(a)(3), provides the names
                and addresses of the members of, and attorneys for, any committee organized prior
                to the order for relief in these chapter 11 cases, and a brief description of the
                circumstances surrounding the formation of the committee.

       •        Exhibit D. Pursuant to Local Bankruptcy Rule 1007-2(a)(4), provides the
                following information with respect to each of the holders of the debtors’ thirty
                largest unsecured claims, excluding claims of insiders: the creditors name; the
                address (including the number, street, apartment, or suite number, and zip code, if
                not included in the post office address); the telephone number; the name(s) of the
                person(s) familiar with the debtors’ account; the nature and approximate amount of
                the claim; and an indication of whether the claim is contingent, unliquidated,
                disputed, or partially secured.

       •        Exhibit E. Pursuant to Local Bankruptcy Rule 1007-2(a)(5), provides the
                following information with respect to each of the holders of the five largest secured
                claims against the debtors: the creditor’s name; address (including the number,
                street, apartment, or suite number, and zip code, if not included in the post office
                address); the amount of the claim; a brief description of the claim; an estimate of
                the value of the collateral securing the claim; and an indication of whether the claim
                or lien is disputed at this time.

       •        Exhibit F. Pursuant to Local Bankruptcy Rule 1007-2(a)(6), provides a summary
                of the debtors’ assets and liabilities.

       •        Exhibit G. Pursuant to Local Bankruptcy Rule 1007-2(a)(7), provides a summary
                of the publicly held securities of the debtors.

       •        Exhibit H. Pursuant to Local Bankruptcy Rule 1007-2(a)(8), provides the
                following information with respect to any property in possession or custody of any
                custodian, public officer, mortgagee, pledge, assignee of rents, or secured creditors,
                or agent for such entity: the name; address; and telephone number of such entity
                and the court in which any proceeding relating thereto is pending.

       •        Exhibit I. Pursuant to Local Bankruptcy Rule 1007-2(a)(9), provides a list of
                property comprising the premises owned, leased, or held under other arrangement
                from which the debtors operate their business.

       •        Exhibit J. Pursuant to Local Bankruptcy Rule 1007-2(a)(10), sets forth the
                location of the debtors’ substantial assets, the location of their books and records,
                and the nature, location, and value of any assets held by the debtors outside the
                territorial limits of the United States.



   or claim listed herein is a disputed claim or debt, and to challenge the priority, nature, amount, or status of any
   such claim or debt.




                                                        26
19-36300-cgm     Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                         Pg 27 of 66


      •        Exhibit K. Pursuant to Local Bankruptcy Rule 1007-2(a)(11), provides a list of
               the nature and present status of each action or proceeding, pending or threatened,
               against the debtors or their property where a judgment or seizure of their property
               may be imminent.

      •        Exhibit L. Pursuant to Local Bankruptcy Rule 1007-2(a)(12), sets forth a list of
               the names of the individuals who comprise the debtors’ existing senior
               management, their tenure with the debtors, and a brief summary of their relevant
               responsibilities and experience.

      •        Exhibit M. Pursuant to Local Bankruptcy Rule 1007-2(b)(1)-(2)(A), provides the
               estimated amount of payroll to the debtors’ employees (not including officers,
               directors, and equity holders) and the estimated amounts to be paid to officers,
               equity holders, directors, and financial and business consultants retained by the
               debtors, for the 30-day period following the Petition Date.

      •        Exhibit N. Pursuant to Local Bankruptcy Rule 1007-2(b)(3), provides a schedule,
               for the 30-day period following the Petition Date, of estimated cash receipts and
               disbursements, net gain or loss, obligations and receivables expected to accrue but
               remain unpaid, other than professional fees, for the 30-day period following the
               filing of the chapter 11 cases, and any other information relevant to an
               understanding of the foregoing.

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                                               27
19-36300-cgm      Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50     Main Document
                                            Pg 28 of 66


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true correct.


 Dated: August 6, 2019                          /s/ Mohsin J. Meghji
 New York, New York                             Name: Mohsin J. Meghji
                                                Title: Managing Partner, M-III Advisors, LP
19-36300-cgm   Doc 22   Filed 08/06/19 Entered 08/06/19 11:30:50   Main Document
                                     Pg 29 of 66


                                    Exhibit A

                               Corporate Structure
                                                                                                                                     19-36300-cgm                Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50                               Main Document
                                                                                                                                                                                          Pg 30 of 66




                                                                                                          Barneys Corporate Structure Chart
                                                                                                                                                                                        Perry Private Opportunities Fund, L.P.; Spring
                                                                                                                       Yucaipa American Alliance Fund II, L.P. and
                                                                        Istithmar Bentley Cayman Ltd.                                                                                 Investments II Ltd.; Perry Principals, L.L.C.; Perry
                                                                                                                       Yucaipa American Alliance (Parallel) Fund II,
                                                                     (Cayman Islands Exempted Company)                                                                                Partners International, Inc.; Perry Partners, L.P.;
                                                                                                                                         L.P.
                                                                                                                                                                                                 and Spring Investments Ltd.



                                                                                                          8%                              20%                                72%

                                                                                                                                                                                                                     REVOLVING CREDIT FACILITY AGREEMENT (“ABL”)                       ABL LENDERS
            LEGEND
                                                                                                                            Barneys New York, Inc.
                                                                                                                                                                                   30%1                Maturity: December 19, 2023
          Borrower                                                                                                               (Delaware)                                                            Agent: Wells Fargo Bank, N.A.
                                                                                                                                                                                                       Revolving Commitments: Up to $225 million (subject to borrowing base          Wells Fargo
                                                                                                                                                                                                       availability)2                                                                Bank, N.A.
          Guarantor                                                                                                                                                                                                                                                                    62.5%
                                                                                                                                                                                                       Unused Commitment Fee: 0.25% per annum
                                                                                                                                                                                                       Outstanding Balance: $141 million7
             Equity                                                                                                                                                                                    Revolving Loan Interest: Base Rate3 + Applicable Margin4 OR LIBO Rate +
                                                                                                                                                                                                       Applicable Margin5
                                                                                                                                                                                                       Revolving Loan Interest Date: (i) Interest on Base Rate Loans is payable on
                                                  NOTES                                                                                                                                                the first calendar day of each calendar quarter; (ii) interest accrued on
1.   Unless otherwise specified, the equity ownership of each entity is 100% held by its immediate                                                                                                     LIBO Rate Loans is payable on the last calendar day of each Interest Period
     parent.                                                                                                                       Barney’s, Inc.                                                      (subject to prepayment and maturity exceptions)5
2.   The Company must maintain excess availability at all times under the Revolver equal to the                                     (New York)                                                         Collateral: First priority lien on substantially all assets6
     greater of 10% of Adjusted Combined Maximum Credit and                $20 million. See Section 5.1                                                                                                                                                                                FILO LENDERS
     of the Fifth Amendment to the Revolving Credit and Term Loan Facility Agreement (“Adjusted                                                                                                                                       TERM LOAN (“FILO”)
     Combined Maximum Credit” is the           (a) lesser of the ABL commitments and ABL borrowing
     base and (b) lesser of outstanding term loan and term loan borrowing base).
3.   The greatest of (a) the Federal Funds Rate plus 0.5%, (b) the LIBO Rate plus 1%, and (c) the
                                                                                                                                                                                                       Maturity: December 19, 2023                                                   TPG Specialty
                                                                                                                                                                                                                                                                                       70%
     rate of interest announced, from time to time, within Wells Fargo Bank, N.A., at its principal                                                                                                    Amortization Payments: Quarterly principal payments each in the amount        Lending, Inc.
     office in San Francisco as its “prime rate.”                                                                                                                                                      equal to $1,250,000, on the first calendar day of each February, May,             70%
4.   Applicable Margin is as follows:                                                                                                                                                                  August, and November, commencing on August 1, 2019.
                                           APPLICABLE MARGIN APPLICABLE MARGIN                                                                                                                         Agent: Wells Fargo Bank, N.A.                                                            Wells
     QUARTERLY AVERAGE                        FOR LIBO RATE            FOR BASE RATE                                                                                                                   Outstanding Balance: $48.75 million                                                      Fargo
     EXCESS AVAILABILITY                           LOANS                    LOANS                         BNY Catering, Inc.                              BNY Licensing Corp.
                                                                                                                                                                                                       Term Loan Interest Rate: LIBO Rate + 7.00% OR Base Rate + 6.00%                        Bank, N.A.
     Greater than $100,000,000                     2.00%                    1.00%                           (New York)                                        (Delaware)                               Term Loan Interest Dates: The first calendar day of each calendar month                   30%
     Less than or equal to $100,000,000            2.25%                    1.25%
5.   Subject to certain exceptions, the Interest Period is (i) initially, the period beginning on the                                                                                                  (subject to prepayment and maturity exceptions)
     date the loan is made or on the date of conversion of a Base Rate Loan to a LIBO Rate Loan                                                                                                        Collateral: First priority lien on substantially all assets
     and ending one, two, or three months thereafter, and (ii) if the loan is continued, the period                                                                    70%
     commencing on the last day of the immediately preceding Interest Period and ending one,
     two, or three months thereafter, as selected by the borrower.
6.   All payments and any other amounts received by the Administrative Agent shall be applied as
     follows: (i) to pay principal and interest on any portion of the Revolving Loans the
     Administrative Agent advanced; (ii) to pay all other Obligations in respect of the Revolving
     Facility, (iii) all other Obligations due and payable, and (iv) as the Borrower designates. See                                                                    1
     Section 2.13(g) of the Fifth Amendment to the Revolving Credit and Term Loan Facility                                                                Barneys Asia Co.
                                                                                                                                                                     30%   LLC
     Agreement.                                                                                                                                               (Delaware)
7.   This amount includes approximately $26 million in letters of credit.
19-36300-cgm   Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50   Main Document
                                       Pg 31 of 66


                                       Exhibit B

                        Evidentiary Support for First Day Motions
19-36300-cgm        Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                     Main Document
                                              Pg 32 of 66


                        EVIDENTIARY SUPPORT FOR FIRST DAY MOTIONS8

                                     Administrative and Procedural Motions

        A.       Debtors’ Motion Seeking Entry of an Order Directing Joint Administration of
                 Their Related Chapter 11 Cases and (II) Granted Related Relief (the “Joint
                 Administration Motion”).

        1.            The Debtors have filed several purely administrative or procedural First Day

Pleadings, including a motion to jointly administer the Debtors’ chapter 11 cases. As in many

large chapter 11 cases that are jointly administered, the Debtors do not maintain lists of the names

and addresses of their respective creditors on a debtor-by-debtor basis. Given the integrated nature

of the Debtors’ operations, joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest.

        B.       Debtors’ Motion for Entry of Interim and Final Orders Establishing Certain
                 Notice, Case Management, and Administrative Procedures (the “Case
                 Management Motion”).

        2.            Pursuant to the Case Management Motion, the Debtors seek entry of interim

and final orders approving and implementing the notice, case management, and administrative

procedures. The proposed Case Management Procedures, among other things: (a) establish

requirements for filing and serving Court Filings; (b) delineate standards for notices of hearings

and agenda letters; (c) fix periodic omnibus hearing dates and articulate mandatory guidelines for

the scheduling of hearings and objection deadlines; and (d) limit matters that are required to be

heard by the Court. Given the size and complexity of these chapter 11 cases, implementing the

Case Management Procedures will facilitate the fair and efficient administration of these cases and

promote judicial economy.




8   Capitalized terms used but not defined herein have the meanings given to them in the applicable First Day Motion.
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50              Main Document
                                          Pg 33 of 66


       C.      Debtors’ Motion Seeking Entry of an Order (I) Extending Time to File
               Schedules of Assets and Liabilities, Schedules of Current Income and
               Expenditures, Schedules of Executory Contracts and Unexpired Leases, and
               Statements of Financial Affairs, and (II) Granting Related Relief (the
               “Schedules and Statements Extension Motion”).

       3.          Pursuant to the Schedules and Statements Extension Motion, the Debtors seek

entry of an order extending the deadline by which the Debtors must file their schedules of assets

and liabilities, schedules of current income and expenditures, schedules of executory contracts and

unexpired leases, and statements of financial affairs (collectively, the “Schedules and Statements”)

by thirty days, for a total of forty-four days from the Petition Date, without prejudice to the

Debtors’ ability to request additional extensions.

       4.          Given the size and complexity of the Debtors’ business and financial affairs,

and the critical matters that the Debtors’ management and professionals were required to address

prior to the commencement of these chapter 11 cases, the Debtors were not in a position to

complete the Schedules and Statements as of the Petition Date. Accordingly, the relief requested

in the Schedules and Statements Extension Motion is warranted under the circumstances.

       D.      Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Debtors to File
               a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing
               Matrix for Each Debtor, (II) Authorizing the Debtors to File a Consolidated
               List of the Debtors’ Thirty Largest Unsecured Creditors, (III) Authorizing the
               Debtors to Redact Certain Personally Identifiable Information for The
               Debtors’ Employees, (IV) Approving the Form and Manner of Notifying
               Creditors of Commencement, and (V) Granting Related Relief (the “Creditor
               Matrix Motion”).

       5.          Pursuant to the Credit Matrix Motion, the Debtors seek entry of an order

(a) authorizing the Debtors to (i) file a consolidated list of creditors in lieu of submitting separate

mailing matrices for each Debtor (the “Creditor Matrix”), (ii) file a consolidated list of the Debtors’

thirty largest unsecured creditors, (iii) redact certain personal identifiable information for the
19-36300-cgm        Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                       Main Document
                                              Pg 34 of 66


Debtors’ Employees, and (b) approving the form and manner of notifying creditors of

commencement of these chapter 11 cases.

        6.           First, the preparation of separate lists of creditors for each debtor would be

expensive, and time consuming. Therefore, the Debtors have requested to file a consolidated

creditor matrix. Moreover, filing a top thirty list will help alleviate administrative burdens, costs,

and the possibility of duplicative service. Second, the list of creditors may include information of

the Debtors’ Employees with personal information; such information can be used to perpetrate

identity theft. Third, mailing initial notices of bankruptcy through the Debtors’ proposed claims

and noticing agent, Stretto, to parties in interest will maximize efficiency in administering these

chapter 11 cases and will ease administrative burdens that would otherwise fall upon the Court and

the U.S. Trustee. Accordingly the relief requested in the Creditor Matrix Motion is warranted

under the circumstances.

        E.       Debtors’ Application Seeking Entry of an Order (I) Authorizing and
                 Approving the Appointment of Stretto as Claims and Noticing Agent and
                 (II) Granting Related Relief (the “Stretto 156(c) Retention Application”).

        7.           Pursuant to the Claims and Noticing Agent Application, the Debtors seek entry

of an order appointing Stretto (“Stretto”)9 as claims and noticing agent (the “Claims and Noticing

Agent”) for the Debtors in their chapter 11 cases effective nunc pro tunc to the Petition Date,

including assuming full responsibility for the distribution of notices and the maintenance,

processing, and docketing of proofs of claim filed in the Debtors’ chapter 11 cases.

        8.           Based on my discussions with the Debtors’ advisors, I believe that the Debtors’

selection of Stretto to act as the Claims and Noticing Agent is appropriate under the circumstances

and in the best interest of the estates. Moreover, it is my understanding that based on all


9   Stretto is the trade name of Bankruptcy Management Solutions, Inc., and its subsidiaries.
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 35 of 66


engagement proposals obtained and reviewed that Stretto’s rates are competitive and comparable

to the rates charged by their competitors for similar services.

       9.          The Debtors anticipate that there will be thousands of persons and entities to be

noticed in these chapter 11 cases. In light of the number of parties in interest and the complexity

of the Debtors’ business, the Debtors submit that the appointment of a claims and noticing agent

will provide the most effective and efficient means of, and relieve the Debtors and/or the Clerk’s

office of the administrative burden of, noticing and processing proofs of claim and is in the best

interests of both the Debtors’ estates and their creditors. Accordingly, on behalf of the Debtors, I

respectfully submit that the Court should approve the Stretto 156(c) Retention Application.

                                       Operational Motions

       F.      Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing
               the Debtors to (A) Continue to Operate Their Cash Management System,
               (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
               Existing Business Forms, and (D) Continue to Perform Intercompany
               Transactions, (II) Granting Administrative Expense Status to Postpetition
               Intercompany Balances, and (III) Granting Related Relief (the “Cash
               Management Motion”).

       10.         Pursuant to the Cash Management Motion, the Debtors seek entry of interim

and final orders (a) authorizing, but not directing, the Debtors to (i) continue to operate their cash

management system substantially as illustrated on Exhibit 1 annexed to Exhibit A attached to the

Cash Management Motion, (ii) honor certain prepetition obligations related thereto, (iii) maintain

existing Business Forms in the ordinary course of business, and (iv) continue to perform

Intercompany Transactions consistent with historical practice; and (b) granting administrative

expense status to postpetition Intercompany Balances.

       11.         The Debtors’ Cash Management System is similar to the centralized cash

management systems used by other comparably sized companies to manage cash flow. The

Debtors use their Cash Management System in the ordinary course to transfer and distribute funds
19-36300-cgm       Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                            Pg 36 of 66


and to facilitate cash monitoring, forecasting, and reporting. The Debtors’ treasury department

maintains daily oversight over the Cash Management System and implements cash management

controls for entering, processing, and releasing funds. Additionally, the Debtors’ corporate

accounting, treasury, and internal audit departments regularly reconcile the Debtors’ books and

records to ensure that all transfers are accounted for properly.

        12.         Because of the disruption that would result if the Debtors were forced to close

their existing bank accounts, I believe that it is critical that the existing Cash Management System

remain in place. I believe that the relief requested in the Cash Management Motion is in the best

interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the

Debtors to continue to operate their business in chapter 11. Accordingly, on behalf of the Debtors,

I respectfully submit that the Cash Management Motion should be approved.

        G.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
                Compensation, and Reimbursable Employee Expenses and (B) Continue
                Employee Benefits Programs and (II) Granting Related Relief (the “Wages
                Motion”).

        13.         Pursuant to the Wages Motion, the Debtors seek entry of interim and final

orders authorizing, but not directing, the Debtors to (a) pay prepetition wages, salaries, other

compensation, reimbursable employee expenses, and severance obligations, and (b) continue

employee benefits programs in the ordinary course, including payment of certain prepetition

obligations related thereto.

        14.         The Debtors employ approximately 2,300 Employees, including approximately

2,100 full-time Employees and 200 part-time Employees. As of the Petition Date, approximately

900 Employees are members of a labor union. The Employees perform a wide variety of functions

which will be critical to the Debtors’ go-forward business operations and the administration of

these chapter 11 cases. In many instances, the Employees include personnel who are intimately
19-36300-cgm     Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                         Pg 37 of 66


familiar with the Debtors’ businesses, processes, and systems, who possess unique skills and

experience to the core business segments of the Debtors, and/or who have developed relationships

with wholesalers and distributors that are essential to the Debtors’ business. The Debtors also

retain from time to time specialized individuals as Independent Contractors to complete discrete

projects, as well as Temporary Staff from several Staffing Agencies to fulfill certain duties,

including, among other things, sales, web services, building services, and catering. The Debtors

currently retain approximately 260 Independent Contractors and Temporary Staff in the aggregate.

       15.         The Debtors are seeking authority to pay and honor certain prepetition claims

relating to the Employee Compensation and Benefits, including, among other things, wages,

salaries, sales commissions and other compensation, payroll services, federal and state withholding

taxes and other amounts withheld (including garnishments, Employees’ share of insurance

premiums, and taxes), reimbursable expenses, severance obligations, health insurance, workers’

compensation benefits, life insurance, short- and long-term disability coverage, and certain other

benefits that the Debtors have historically provided in the ordinary course (collectively,

the “Employee Compensation and Benefits”) and as further described in the Wages Motion.

       16.         Pursuant to the Wages Motion, the Debtors also seek authority to continue their

incentive programs and to honor their obligations to non-insider Employees and Union Employees

under these pre-existing incentives programs, described more fully in the Wages Motion. The

Debtors believe the incentive programs drive Employees’ performance, align Employees’ interests

with those of the Debtors generally, and promote the overall efficiency of the Debtors’ operations.

I understand that “insiders” (as the term is defined in section 101(31) of the Bankruptcy Code) of

the Debtors are excluded from the relief requested in the Wages Motion with respect to any bonus

programs or severance payments.
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 38 of 66


         17.       I believe the Employees provide the Debtors with services necessary to conduct

the Debtors’ business, and absent the payment of the Employee Compensation and Benefits

Programs owed to the Employees, the Debtors will likely experience Employee turnover and

instability at this critical time. I believe that without these payments, the Employees may become

demoralized and unproductive because of the potential significant financial strain and other

hardships the Employees may face. Employees may then elect to seek alternative employment

opportunities. I believe enterprise value may be materially impaired to the detriment of all

stakeholders in such a scenario. I, therefore, believe that payment of the prepetition obligations

with respect to the Employee Compensation and Benefits Programs is a necessary and critical

element of the Debtors’ efforts to preserve value and will give the Debtors the greatest likelihood

of retention of their Employees as the Debtors seek to operate their business in these chapter 11

cases.

         18.       Therefore, I believe that the relief requested in the Wages Motion inures to the

benefit of all parties in interest. Accordingly, on behalf of the Debtors, I respectfully submit that

the Court should approve the Wages Motion.

         H.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
               Debtors to Maintain and Administer Their Existing Customer Programs and
               Honor Certain Prepetition Obligations Related Thereto and (II) Granting
               Related Relief (the “Customer Programs Motion”)

         19.       Pursuant to the Customer Programs Motion, the Debtors seek entry of interim

and final orders authorizing the Debtors to maintain and administer their Customer Programs and

honor certain prepetition obligations related thereto.

         20.       The Debtors have historically provided certain incentives, discounts, and

accommodations to their customers to attract and maintain positive customer relationships. The

Customer Programs promote customer satisfaction and inure to the goodwill of the Debtors’
19-36300-cgm     Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                         Pg 39 of 66


business and the value of their “brand.” Accordingly, maintaining the goodwill of their customers

is important to the Debtors’ ongoing operations in these chapter 11 cases, and is necessary to

maximize value for the benefit of all of the Debtors’ stakeholders.

       21.         As of the Petition Date, the Debtors estimate that there are approximately

$22.2 million of prepetition obligations outstanding related to Customer Programs.         These

obligations include accrued credits, adjustments, discounts, prepayments, or other similar

programs owing to customers. The vast majority of these obligations do not entail the expenditure

of cash.

       22.         I believe that continuing to administer the Customer Programs without

interruption during the pendency of the chapter 11 cases is critical to preserve the value of the

Debtors’ assets by, most importantly, preserving the Debtors’ valuable customer relationships,

goodwill, and market share, which will inure to the benefit of all of the Debtors’ creditors and

benefit their estates. In contrast, if the Debtors are unable to continue the Customer Programs

postpetition or pay amounts due and owing to customers, the Debtors risk alienating their

customers, and might suffer corresponding losses in customer loyalty and goodwill that will harm

their prospects maximizing the value of their estates. The Debtors’ Customer Programs are

essential marketing strategies for attracting new customers.

       23.         I believe that the failure to honor the Customer Programs could place the

Debtors at a competitive disadvantage in the marketplace, amplifying the negative effect of

customer uncertainty that may arise from the chapter 11 filings. Such uncertainty could erode the

Debtors’ hard-earned reputation and customer loyalty, which, in turn, could adversely impact their

prospects for a successful emergence from bankruptcy.
19-36300-cgm      Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50              Main Document
                                           Pg 40 of 66


       24.         I believe that the relief requested in the Customer Programs Motion will pay

dividends with respect to the long-term reorganization of their businesses, both in terms of

profitability and the engendering of goodwill, especially at this critical time following the filing of

the chapter 11 cases. Accordingly, on behalf of the Debtors, I respectfully submit that the Court

should approve the Customer Programs Motion.

       I.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
               Debtors to (A) Satisfy Obligations Related to Insurance Policies, (B) Renew,
               Supplement, Modify, or Purchase Insurance Coverage, (C) Honor the Terms
               of the Financing Agreement and Pay Premiums Thereunder, and (D) Enter
               into New Financing Agreements in the Ordinary Course of Business and
               (II) Granting Related Relief (the “Insurance Motion”).

       25.         Pursuant to the Insurance Motion, the Debtors seek entry of interim and final

orders authorizing the Debtors to (a) satisfy their obligations related to insurance policies entered

into prepetition, including payment of certain brokerage fees, (b) renew, supplement, modify, or

purchase insurance coverage in the ordinary course, (c) renew or enter into new premium financing

agreements in the ordinary course of business, and (d) honor the terms of the Financing Agreement

with Aon Premium Finance LLC and pay premiums thereunder.

       26.         The Debtors’ Insurance Policies are essential to the preservation of the value of

the Debtors’ business, properties, and assets. I understand that, in many cases, insurance coverage

such as that provided by the Insurance Policies is required by diverse regulations, laws, and

contracts. Failure to make the payments required by the Debtors’ Insurance Policies, including

the Financing Agreement, could have a significant negative impact on the Debtors’ operations.

       27.         I believe that the relief requested in the Insurance Motion is in the best interest

of the Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors

to continue to operate their businesses in chapter 11 without disruption. Accordingly, on behalf

of the Debtors, I respectfully submit that the Insurance Motion should be approved.
19-36300-cgm      Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50              Main Document
                                           Pg 41 of 66


       J.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
               Payment of Certain Prepetition Taxes and Fees and (II) Granting Related
               Relief (the “Taxes Motion”).

       28.         Pursuant to the Taxes Motion, the Debtors seek entry of interim and final orders

authorizing the Debtors to remit and pay (or use tax credits to offset) certain accrued and

outstanding prepetition obligations accrued on account of sales taxes, use taxes, annual report and

licensing fees, personal property taxes, franchise taxes and fees, and various other governmental

taxes, fees, and assessments. In the ordinary course of business, the Debtors incur and/or collect

certain Taxes and Fees and remit such Taxes and Fees to various governmental authorities. The

Debtors must continue to pay the Taxes and Fees to avoid potential costly distractions during these

chapter 11 cases. Specifically, the Debtors’ failure to pay the Taxes and Fees could adversely

affect the Debtors’ estate because the governmental authorities could file liens or seek to lift the

automatic stay.

       29.         I believe that the relief requested in the Taxes Motion is in the best interests of

the Debtors’ estates, their creditors, and all other parties in interest, and will enable the Debtors to

continue to operate their businesses in chapter 11 without disruption. Accordingly, on behalf of

the Debtors, I respectfully submit that the Taxes Motion should be approved.

       K.      Debtors’ Motion for Entry of Interim and Final Orders (I) Approving
               Notification and Hearing Procedures for Certain Transfers of and
               Declarations of Worthlessness with Respect to Common Stock and
               (II) Granting Related Relief (the “Equity Trading Motion”).

       30.         Pursuant to the Equity Trading Motion, the Debtors seek entry of interim and

final orders (a) approving certain notification and hearing procedures related to certain transfers

of, or declarations of worthlessness with respect to, Debtor Barneys New York, Inc.’s existing

common stock or any Beneficial Ownership therein (any such record or Beneficial Ownership of

common stock, the “Common Stock”), as detailed in Exhibit 1 to the Interim Order and Final
19-36300-cgm         Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                      Main Document
                                               Pg 42 of 66


Order to the Equity Trading Motion (the “Procedures”), and (b) directing that any purchase, sale,

other transfer of, or declaration of worthlessness with respect to Common Stock in violation of the

Procedures shall be null and void ab initio.

         31.           As of January 1, 2019, the Debtors estimate that they have approximately

$118 million of federal NOLs approximately $3.5 million of federal charitable contribution

carryforwards; and approximately $6 million of disallowed interest carryforwards (collectively,

and together with state and certain other tax attributes, the “Tax Attributes”).10 The Tax Attributes

are potentially of significant value to the Debtors and their estates because the Debtors may be

able to carry forward certain Tax Attributes to offset future taxable income or directly offset federal

tax liability in future years or utilize the Tax Attributes to offset any taxable income or federal tax

liability generated by transactions consummated during these chapter 11 cases. The value of the

Tax Attributes will inure to the benefit of all of the Debtors’ stakeholders.

         32.           Implementation of the Procedures is necessary and appropriate to enforce the

automatic stay and, critically, to preserve the value of the Tax Attributes for the benefit of the

Debtors’ estates. The Tax Attributes may provide the potential for material future tax savings or

other tax structuring possibilities in these chapter 11 cases. The termination or limitation of the

Tax Attributes could be materially detrimental to all parties-in-interest. Thus, granting the relief

requested in the Equity Trading Motion will preserve the Debtors’ flexibility in operating their

business during the pendency of these chapter 11 cases and making full and efficient use of the

Tax Attributes and maximizes the value of the Debtors’ estates. Accordingly, on behalf of the

Debtors, the relief requested in the Equity Trading Motion should be approved.



10   The Tax Attributes include certain alternative minimum tax credits. These credits are not discussed further herein
     as a result of changes to the treatment of such credits in U.S. federal income tax legislation enacted in 2017.
19-36300-cgm      Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                           Pg 43 of 66


       L.      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
               Payment of (A) Prepetition Claims of Lien Claimants, (B) Foreign Vendor
               Claims, (C) Section 503(b)(9) Claims, and (D) Critical Vendor Claims, and (II)
               Granting Related Relief (the “All Vendor Motion”).

       33.         Pursuant to the All Vendor Motion, the Debtors seek entry of interim and final

orders authorizing the Debtors to pay an aggregate amount up to $3 million, absent further order

of the Court, on account of prepetition claims held by certain (a) shippers and warehousemen,

(b) foreign vendors, (c) certain 503(b)(9) claimants, and (d) critical vendors.

       34.         Lien Claimants: The Debtors’ business depends on the uninterrupted flow of

inventory and other goods through its supply chain and distribution network, including the

purchase, importation, storage, and shipment of the Debtors’ Merchandise. As described above,

the Debtors pay various freight forwarders, common carriers, and custom brokers (collectively,

the “Lien Claimants”) to transport the Merchandise. As of the Petition Date, the Debtors owe

approximately $3.5 million.

       35.         Foreign Vendors: A critical component of the Debtors’ supply chain involves

transacting with certain foreign vendors, including by purchasing the Merchandise and other goods

and materials from entities located abroad (collectively, the “Foreign Vendors”). Generally, the

Debtors contract with various domestic vendors to design and source the Merchandise from foreign

manufacturers. In certain circumstances, the Debtors contract with foreign manufacturers directly.

Many of these Foreign Vendors supply goods, materials, or services to the Debtors that are crucial

to the Debtors’ ongoing U.S. operations—specifically the Merchandise necessary to stock the

shelves and racks in the Debtors’ stores.

       36.         The Debtors propose to pay the Foreign Vendor Claims only to the extent

necessary and only on such terms and conditions as are appropriate, in the Debtors’ business

judgment, to avoid disruptions to their business. The Debtors estimate that as of the Petition Date,
19-36300-cgm      Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                         Pg 44 of 66


approximately $6.9 million is accrued and outstanding on account of Foreign Vendor Claims, of

which the vast majority are past due and short vendor terms may come due within the first 30 days

after the Petition Date.

       37.         Critical Vendor Claims. The Debtors’ supply chain consists, in addition to the

Foreign Vendors, of certain domestic vendors (collectively, the “Critical Vendors”) that supply

products and services that are essential to the Debtors’ go-forward operations. With the assistance

of their advisors, the Debtors have spent significant time reviewing and analyzing their books and

records, consulting operations managers and purchasing personnel, reviewing contracts and supply

agreements, and analyzing applicable law, regulations, and historical practice to identify certain

critical business relationships and suppliers of goods and services―the loss of which would

immediately and irreparably harm their businesses, by, inter alia, shrinking their market share,

reducing enterprise value, and ultimately impairing the Debtors’ viability as a going-concern.

       38.         The 503(b)(9) Claims. The Debtors have received certain goods from various

Vendors within the 20 days before the Petition Date (collectively, the “503(b)(9) Claimants”).

Many of the Debtors’ relationships with the 503(b)(9) Claimants are not governed by long-term

contracts. Rather, the Debtors often obtain supplies on an order-by-order basis. As a result, a

503(b)(9) Claimant may refuse to supply new orders without payment of its prepetition claims.

The Debtors also believe certain 503(b)(9) Claimants could reduce the Debtors’ existing trade

credit—or demand payment in cash on delivery—further exacerbating the Debtors’ limited

liquidity. As of the Petition Date, the Debtors believe they owed approximately $8.7 million on

account of the 503(b)(9) Claims.

       39.         Accordingly, the Debtors request the authority, but not the direction, the

Debtors are only seeking authority to pay an amount necessary to preserve the value of their
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 45 of 66


estates, which shall not exceed $2.2 million on an interim basis and $3 million on a final basis on

account of prepetition claims held by certain Vendor Claimants and accrued in the ordinary course

of business.

       M.      Debtors’ Omnibus Motion for Entry of an Order (I) Authorizing (A) Rejection
               of Certain Unexpired Leases of Nonresidential Real Property, Effective as of
               the Rejection Date, and (B) Abandonment of any Personal Property Related
               Thereto, and (II) Granting Related Relief (the “Lease Rejection Motion”).

       40.         Pursuant to the Lease Rejection Motion, the Debtors seek entry of an order

authorizing the Debtors to (a) reject certain unexpired leases of real property, including any

guaranties thereof and any amendments, modifications, or subleases thereto (collectively, the

“Leases”) for nonresidential real property, (b) authorizing the abandonment of certain equipment,

fixtures, furniture, or other personal property that may be located at the premises and not otherwise

transitioned to another store location (collectively, the “Personal Property”), both rejection of

Leases and abandonment of Personal Property to be effective as of the date the Debtors have

surrendered the premises to the landlord via delivery of the keys, key codes, and alarm codes to

the premises, as applicable, to the applicable lease counterparty, or, if not delivering such keys or

codes, providing notice that the landlord may re-let the premises (the “Rejection Date”).

       41.         As part of their ongoing restructuring efforts, the Debtors have determined that

certain of their brick-and-mortar retail and outlet stores do not have a place in the Debtors’

go-forward business plan. The Debtors are party to twenty-eight nonresidential real property

leases across the United States, twenty-two of which relate to store locations. Debtor Barney’s,

Inc. is the lessee counterparty to each such lease.

       42.         The Debtors, with the assistance of their advisors, undertook a comprehensive

review and store-by-store analysis of their lease portfolio and the performance of each of their

stores. The Debtors’ lease portfolio is a significant contributing factor to their current financial
19-36300-cgm      Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                           Pg 46 of 66


challenges and they have determined, as a sound exercise of business judgment, that closure of

numerous underperforming stores would be value maximizing. Accordingly, the Debtors seek to

reject fifteen leases associated with such stores at this time.

        43.         The Debtors estimate that rejecting the Leases will save approximately

$2.2 million per month in rent and associated costs and have determined in their business judgment

that such costs constitute a wasteful drain of estate assets. Accordingly, in an effort to avoid

unnecessary postpetition rent and administrative costs, the Debtors have determined that it is in

the best interests of their estates to reject the fifteen Leases, effective as of the Rejection Date.

        N.      Debtors’ Motion for Entry of an Order (I) Prohibiting Utility Providers from
                Altering, Refusing, or Discontinuing Utility Services, (II) Determining
                Adequate Assurance of Payment for Future Utility Services, (III) Establishing
                Procedures for Determining Adequate Assurance of Payment,
                (IV) Authorizing Fee Payments to NUS Consulting Group for Services
                Performed, and (V) Granting Related Relief (the “Utilities Motion”).

        44.         Pursuant to the Utilities Motion, the Debtors seek entry of an order

(a) prohibiting utility providers from altering, refusing, or discontinuing services, (b) determining

adequate assurance of payment for future utility services, (c) establishing procedures for

determining adequate assurance of payment for future utility services, and (d) authorizing fee

payments to NUS Consulting Group (“NUS”) for services performed.

        45.         In connection with the operation of their businesses, the Debtors obtain water,

sewer service, electricity, waste disposal, natural gas, and other similar services (collectively,

the “Utility Services”) from a number of utility providers or their broker (collectively,

the “Utility Providers”).   The relief requested in the Utilities Motion applies to all Utility

Providers.

        46.         The Debtors manage most payments for Utility Services through NUS pursuant

to a Utility Management Agreement. On average, the Debtors pay approximately $515,000 each
19-36300-cgm      Doc 22        Filed 08/06/19 Entered 08/06/19 11:30:50        Main Document
                                             Pg 47 of 66


month for third-party Utility Services, calculated as a historical average payment for the twelve-

month period that ended July 2019, and including the monthly fee to NUS. The Debtors receive

monthly invoices from NUS and pay NUS approximately $795 a month for services. As of the

Petition Date, the Debtors owe approximately $3,975 to NUS for past services, and approximately

$4,770 will become due and owing within twenty-one days on account of such outstanding

amounts and anticipated invoices for prepetition services. The Debtors make payments for rubbish

Utility Services directly to the respective Utility Providers. As of the Petition Date, the Debtors

estimate that they have posted approximately $375,000 in the form of security deposits on behalf

of certain Utility Providers.

       47.         Over the next twenty-one days, the Debtors estimate that their cost for Utility

Services will be approximately $515,000. The Debtors propose depositing $257,500 into a

segregated account as additional assurance of payment (the “Adequate Assurance Deposit”),

which is an amount sufficient to cover one-half of the Debtors’ average monthly cost based on the

historical average payment. The Adequate Assurance Deposit will be held at Wells Fargo Bank,

N.A., and the Debtors’ creditors will have no lien on any Adequate Assurance Deposit.

       48.         Additionally, the Debtors seek approval of their proposed Adequate Assurance

Procedures. These procedures allow Utility Providers to request adequate assurance for unpaid

Utility Services and additional adequate assurance when they believe the proposed amount is not

sufficient. This ensures that all key stakeholder groups obtain notice of such request before it is

honored.

       49.         Furthermore, the Debtors request that Utility Providers be prohibited from

altering, refusing or discontinuing service to the Debtors on account of: (a) unpaid charges for

prepetition services; (b) a pending Adequate Assurance Request; or (c) any objections filed in
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50              Main Document
                                          Pg 48 of 66


response to the Adequate Assurance Deposit.           Utility Services should be preserved on an

uninterrupted basis because it is essential to the Debtors’ ongoing operations and a successful

reorganization. The Debtors’ retail enterprise requires maintaining open and active stores to entice

and allow customers to make purchases. Any disruption would adversely impact customer

relationships and result in a significant decline in the Debtors’ revenues and profits. This, in turn,

jeopardizes the value of the Debtors’ estates and impact creditor recoveries. Therefore, it is critical

that Utility Services continue uninterrupted during these chapter 11 cases. Accordingly, on behalf

of the Debtors, I respectfully submit that the Court should approve the Utilities Motion.

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19-36300-cgm   Doc 22   Filed 08/06/19 Entered 08/06/19 11:30:50   Main Document
                                     Pg 49 of 66


                                   EXHIBIT C

                         Committees Organized Prepetition

      None.
              19-36300-cgm             Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                           Main Document
                                                                 Pg 50 of 66


                                                                     EXHIBIT D

                         Consolidated List of Holders of the Debtors’ Thirty Largest Unsecured Claims

                           Pursuant to Local Rule 1007-2(a)(4), the following is a consolidated list of the Debtors’
                  creditors holding the thirty largest unsecured claims (the “Consolidated Creditor List”) based on
                  the Debtors’ unaudited books and records as of the Petition Date. The Consolidated Creditor List
                  has been prepared in accordance with Bankruptcy Rule 1007(d) and does not include (i) persons
                  who come within the definition of “insider” set forth in section 101(31) of the Bankruptcy Code
                  or (ii) secured creditors, unless the value of the collateral is such that the unsecured deficiency
                  places the creditor among the holders of the thirty largest unsecured claims.

                          The information contained herein shall not constitute an admission of liability by, nor is it
                  binding on, the Debtors. The Debtors reserve all rights to assert that any debt or claim included
                  herein is a disputed claim or debt, and to challenge the priority, nature, amount, or status of any
                  such claim or debt. In the event of any inconsistencies between the summaries set forth below and
                  the respective corporate and legal documents relating to such obligations, the descriptions in the
                  corporate and legal documents shall control.
                                                                                                                                 Amount of claim
                                                                               Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                   unsecured claim amount. If claim is partially
                                                                                (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                 trade debts,       claim is        for value of collateral or setoff to calculate
    Name of creditor and complete mailing   Name, telephone number and email
                                                                                 bank loans,      contingent,                      unsecured claim.
        address, including zip code            address of creditor contact
                                                                                 professional    unliquidated
                                                                                services, and    , or disputed                   11Deduction
                                                                                                                 Total claim,
                                                                                 government                                       for value of       Unsecured
                                                                                                                  if partially
                                                                                  contracts)                                     collateral or         Claim
                                                                                                                    secured
                                                                                                                                   setoff [1]

                                            Attn: Jack Dushey
                                            Jenel Management Corp.
1   Jenel Management                        275 Madison Avenue (1100)              Lease                                                            $5,984,632
                                            New York, NY 10016
                                            (212) 889-6406
                                            jd@jenel.net
                                            Attn: Legal
                                            609 Greenwich Street
                                                                                   Trade
2   The Row LLC                             New York, New York 10014 (646)                                                                           $3,737,748
                                                                                  Payable
                                            358-3888
                                            Jan.Kaplan@therow.com
                                            Attn: Legal
                                            538 Madison Avenue
                                                                                   Trade
3   Celine Inc.                             New York, NY 10022                                                                                       $2,747,305
                                                                                  Payable
                                            (646) 346-7613
                                            luc.ferriere@lvmhfashion.com




                  11 The Debtors reserve the right to assert setoff and other rights with respect to any of the
                  claims listed herein.
              19-36300-cgm              Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                            Main Document
                                                                  Pg 51 of 66


                                                                                                                                   Amount of claim
                                                                                 Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                     unsecured claim amount. If claim is partially
                                                                                  (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                   trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing    Name, telephone number and email
                                                                                   bank loans,      contingent,                      unsecured claim.
         address, including zip code             address of creditor contact
                                                                                   professional    unliquidated
                                                                                  services, and    , or disputed                   11Deduction
                                                                                                                   Total claim,
                                                                                   government                                       for value of       Unsecured
                                                                                                                    if partially
                                                                                    contracts)                                     collateral or         Claim
                                                                                                                      secured
                                                                                                                                     setoff [1]

                                             25 West 39th St.
                                             New York, NY 10018
     Thor Equities
4                                            United States                           Lease                                                             $2,228,976
     1-15 EAST OAK STREET, LLC
                                             (212) 529-4175 Ext. 0000
                                             jxenitelis@thorequities.com
                                             Attn: Legal
                                             50 Hartz Way
                                             Secaucus, NJ 07094                      Trade
5    Yves Saint Laurent America, Inc.                                                                                                                  $2,186,576
                                             (201) 553-6945                         Payable
                                             (201) 770-2921
                                             daniel.byrnes@kering.com
                                             Attn: Legal
                                             50 Hartz Way
                                                                                     Trade
6    Balenciaga America, Inc.                Secaucus, NJ 07094                                                                                        $2,139,845
                                                                                    Payable
                                             (212) 279-4440
                                             daniel.byrnes@kering.com
                                             Attn: Legal
                                             19 East 57th Street
                                                                                     Trade
7    Givenchy Corporation/LVMH               New York, NY 10022                                                                                        $1,944,171
                                                                                    Payable
                                             (212) 965-5582
                                             luc.ferriere@lvmhfashion.com
                                             Attn: Legal
                                             195 Broadway
                                                                                     Trade
8    Gucci                                   New York, NY 10007                                                                                        $1,797,504
                                                                                    Payable
                                             (201) 330-2738
                                             daniel.byrnes@kering.com
                                             Attn: Legal
                                             1600 Amphitheatre Parkway
                                                                                     Trade
9    Google Inc.                             Mountain View, CA 94043 (800)                                                                             $1,706,932
                                                                                    Payable
                                             467-1894
                                             jo.keri@google.com
                                             Attn: Legal
                                             609 West 52nd Street
                                                                                     Trade
10   Prada                                   New York, NY 10019                                                                                        $1,626,504
                                                                                    Payable
                                             (212) 307-9300
                                             Aimee.Nsang@prada.com
              19-36300-cgm              Doc 22        Filed 08/06/19 Entered 08/06/19 11:30:50                           Main Document
                                                                   Pg 52 of 66


                                                                                                                                   Amount of claim
                                                                                 Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                     unsecured claim amount. If claim is partially
                                                                                  (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                   trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing    Name, telephone number and email
                                                                                   bank loans,      contingent,                      unsecured claim.
         address, including zip code             address of creditor contact
                                                                                   professional    unliquidated
                                                                                  services, and    , or disputed                   11Deduction
                                                                                                                   Total claim,
                                                                                   government                                       for value of       Unsecured
                                                                                                                    if partially
                                                                                    contracts)                                     collateral or         Claim
                                                                                                                      secured
                                                                                                                                     setoff [1]

                                             Attn: Legal
                                             215 Park Avenue South
     Rakuten Marketing Formerly              2nd Floor                               Trade
11                                                                                                                                                     $1,584,130
     Linkshare Corp.                         New York, NY 10003                     Payable
                                             (646) 943-8294
                                             shannon.le@rakuten.com
                                             Attn: Legal
                                             Dept. 3486
                                             24 E 64th St
                                                                                     Trade
12   GGR US LLC                              New York, NY 10065                                                                                        $1,461,149
                                                                                    Payable
                                             (212) 947-3333
                                             veronica.nanni@ggr-
                                             distribution.com
                                             Attn: Legal
                                             5 Rue Marignan                          Trade
13   Azzedine Alaia                                                                                                                                    $1,396,258
                                             75008 Paris, France                    Payable
                                             patricia.carry@alaia.fr
                                             220 W 19TH STREET
                                             11TH FLOOR
                                             New York, NY 10011                      Trade
14   Margiela USA, Inc                                                                                                                                 $1,370,604
                                             (646) 813-4124 Ext. 0000               Payable
                                             kenny_kalipershad@staffinternati
                                             onal.com
                                             Attn: Legal
                                             306 W. 38th Street
                                             Floor 14                                Trade
15   CL US Distribution Corporation                                                                                                                    $1,283,586
                                             New York, NY 10018-2927 (212)          Payable
                                             279-7365
                                             j.jiang@us.christianlouboutin.com
                                             568 BROADWAY
                                             SUITE # 301
                                             ATTN: A/R & CREDIT DPT.                 Trade
16   Moncler USA, Inc                                                                                                                                  $1,205,973
                                             New York, NY 10012                     Payable
                                             (347) 745-2873 Ext. 0000
                                             valentina.pretto@moncler.com
              19-36300-cgm              Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                           Main Document
                                                                  Pg 53 of 66


                                                                                                                                  Amount of claim
                                                                                Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                  trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing   Name, telephone number and email
                                                                                  bank loans,      contingent,                      unsecured claim.
         address, including zip code            address of creditor contact
                                                                                  professional    unliquidated
                                                                                 services, and    , or disputed                   11Deduction
                                                                                                                  Total claim,
                                                                                  government                                       for value of       Unsecured
                                                                                                                   if partially
                                                                                   contracts)                                     collateral or         Claim
                                                                                                                     secured
                                                                                                                                    setoff [1]

                                             Attn: Legal
                                             Division of Richemont North
                                             America
                                             10 East 52nd Street                    Trade
17   Chloe                                                                                                                                             $995,965
                                             3rd Floor                             Payable
                                             New York, NY 10022
                                             (917) 606-7031
                                             clemence.asaria@chloe.com
                                             Attn: Legal
                                             390 Madison Avenue
                                                                                    Trade
18   Shiseido Cosmetics                      New York. NY 10017                                                                                        $990,192
                                                                                   Payable
                                             (201) 651-3917
                                             jcohen@sac.shiseido.com
                                             PO BOX 847130
                                             Dallas, TX 75284-7130
     STOCKTON STREET PROPERTIES,             (952) 852-5200 Ext. 0000
19                                                                                  Lease                                                              $953,528
     INC.                                    Lori.Coleman@MadisonMarquette
                                             .com;
                                             kevin.pirozzoli@invesco.com
                                             730 FIFTH AVE, CROWN BLDG.,
                                             STE 1004
                                                                                    Trade
20   ISAIA CORP                              New York. NY 10019                                                                                        $942,977
                                                                                   Payable
                                             (212) 245-3733 Ext. 0000
                                             anthony.bozzi@isaia.it
                                             942 South Shady Grove Road
                                             Memphis, Tennessee 38120 (901)         Trade
21   FedEx                                                                                                                                             $929,944
                                             818-7500                              Payable
                                             christie.burns@fedex.com
                                             885 CENTENNIAL AVENUE
                                             Piscataway, NJ 08854
                                                                                    Trade
22   CHANEL                                  (732) 980-3845 Ext. 0000                                                                                  $877,516
                                                                                   Payable
                                             KAREN.ALBRECHT@CHANELUSA.C
                                             OM
                                             Attn: Legal
                                             598 Madison Ave FL 6
                                                                                    Trade
23   Loewe LLC                               New York, NY 10022                                                                                        $877,323
                                                                                   Payable
                                             (646) 346-7914
                                             luc.ferriere@lvmhfashion.com
              19-36300-cgm              Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                           Main Document
                                                                  Pg 54 of 66


                                                                                                                                  Amount of claim
                                                                                Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                  trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing   Name, telephone number and email
                                                                                  bank loans,      contingent,                      unsecured claim.
         address, including zip code            address of creditor contact
                                                                                  professional    unliquidated
                                                                                 services, and    , or disputed                   11Deduction
                                                                                                                  Total claim,
                                                                                  government                                       for value of       Unsecured
                                                                                                                   if partially
                                                                                   contracts)                                     collateral or         Claim
                                                                                                                     secured
                                                                                                                                    setoff [1]

                                             C/O TX911OU
                                             P.O.BOX 55950
                                                                                    Trade
24   CANADA GOOSE US, INC.                   Boston, MA 02205-5950 (416)                                                                               $870,103
                                                                                   Payable
                                             780-9850 Ext. 0000
                                             crenfrey@canadagoose.com

                                             660 MADISON AVENUE
                                                                                    Trade
25   ETOILLE 660 MADISON LLC                 New York, NY 10065                                                                                        $866,977
                                                                                   Payable
                                             tedh@jsrellc.com

                                             Attn: Legal
                                             48 Walker Street
                                                                                    Trade
26   Tribeca Design Studio LLC               New York, New York 10013 (212)                                                                            $854,691
                                                                                   Payable
                                             431-7713
                                             shira@nililotan.com
                                             Attn: Legal
                                             31 West 54th Street
                                                                                    Trade
27   Manolo Blahnik USA, LTD                 New York, New York 10019 (212)                                                                            $831,984
                                                                                   Payable
                                             582-5647
                                             Tony@manoloblahnikusa.com
                                             425 W 13TH ST., 3RD FL New York,
                                             NY 10014                               Trade
28   RAG & BONE                                                                                                                                        $823,234
                                             (212) 278-8214 Ext. 0000              Payable
                                             credit@rag-bone.com

                                             VIA PONZA, 4
                                                                                    Trade
29   OWENSCORP ITALIA SPA                    10121 TORINO (TO) ITALY                                                                                   $816,999
                                                                                   Payable
                                             luca.ruggeri@owenscorp.com


                                             PO BOX 780254
     THE BUILDING AT 575 FIFTH OFFICE
30                                           Philadelphia, PA 19178-0254            Lease                                                              $815,240
     OWNER LL
                                             MattP@575fifth.com
      19-36300-cgm           Doc 22       Filed 08/06/19 Entered 08/06/19 11:30:50                     Main Document
                                                       Pg 55 of 66


                                                         EXHIBIT E

                 Consolidated List of the Holders of the Debtors’ Five Largest Secured Claims

                Pursuant to Local Rule 1007-2(a)(5), the following is a list of creditors holding the five
        largest secured claims against the Debtors, on a consolidated basis, as of the Petition Date.

                The information contained herein shall not constitute an admission of liability by, nor is it
        binding on, the Debtors. the Debtors reserves all rights to assert that any debt or claim included
        herein is a disputed claim or debt, and to challenge the priority, nature, amount, or status of any
        such claim or debt. The descriptions of the collateral securing the underlying obligations are
        intended only as brief summaries. In the event of any inconsistencies between the summaries set
        forth below and the respective corporate and legal documents relating to such obligations, the
        descriptions in the corporate and legal documents shall control.

            Name of Creditor                 Creditor name, and complete         Amount of claim          Collateral description
                                          mailing address, including zip code    (as of the Petition            and value
                                          of employee, agents, or department            Date)
                                          of creditor familiar with claim who
                                                   may be contacted

Wells    Fargo    Bank,     N.A.    as    Riemer & Braunstein LLP                $141 million           Substantially all of the
administrative and collateral agent on    100 Cambridge Street                                          Debtors’ assets, whether
behalf of the lenders under the ABL       Boston, Massachusetts 02114                                   now owned or hereafter
Facility                                  Attn: Donald E. Rothman                                       acquired, serve as collateral
                                                                                                        for certain obligations in
                                          -and-                                                         the     applicable     credit
                                                                                                        agreement, except to the
                                          Riemer & Braunstein LLP                                       extent that such assets are
                                          Times Square Tower, Seven Times                               considered excluded in
                                          Square, Suite 2506                                            accordance therewith. The
                                          New York, New York 10036                                      collateral’s    value      is
                                          Attn: Steve E. Fox                                            unknown as of the date
                                                                                                        hereof.

Wells Fargo Bank, N.A. as term agent      Choate, Hall & Stewart LLP             $48.8 million          Substantially all of the
on behalf of the lenders under the Term   Two International Place                                       Debtors’ assets, whether
Loan Facility                             Boston, Massachusetts 02110                                   now owned or hereafter
                                          Attn:   Kevin     J.    Simard   and                          acquired, serve as collateral
                                          Mark D. Silva                                                 for certain obligations in
                                                                                                        the     applicable     credit
                                                                                                        agreement, except to the
                                                                                                        extent that such assets are
                                                                                                        considered excluded in
                                                                                                        accordance therewith. The
                                                                                                        collateral’s    value      is
                                                                                                        unknown as of the date
                                                                                                        hereof.
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 56 of 66


                                           EXHIBIT F

                        Summary of the Debtors’ Assets and Liabilities

       Pursuant to Local Rule 1007-2(a)(6), the following are estimates of the Debtors’ total assets
and liabilities on a consolidated basis. The following financial data is the latest available
information and reflects the Debtors’ financial condition, as consolidated with their affiliated
debtors and non-debtors as of the Petition Date.

        The information contained herein shall not constitute an admission of liability by, nor is it
binding on, the Debtors. The Debtors reserve all rights to assert that any debt or claim included
herein is a disputed claim or debt, and to challenge the priority, nature, amount, or status of any
such claim or debt.

             Assets and Liabilities                                    Amount

 Total Assets                                                         Approximately $457 million
 (Book Value as of July 6, 2019)
 Total Liabilities                                                    Approximately $377 million
 (Book Value as of July 6, 2019)
19-36300-cgm     Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                         Pg 57 of 66


                                          EXHIBIT G

                   Summary of the Publicly Held Securities of the Debtors

        Pursuant to Local Rule 1007-2(a)(7), the following lists the number and classes of shares
of stock, debentures, or other securities of the Debtors that are publicly held, and the number of
holders thereof as of the Petition Date.

       None.
19-36300-cgm      Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                          Pg 58 of 66


                                           EXHIBIT H

                  Summary of the Debtors’ Property Held by Third Parties

        Pursuant to Local Rule 1007-2(a)(8), the following lists the Debtors’ property, as of the
Petition Date, that is in the possession or custody of any custodian, public officer, mortgagee,
pledge, assignee of rents, secured creditor, or agent for any such entity.

         Certain property of the Debtors’ is likely to be in the possession of various other persons,
including but not limited to maintenance providers, shippers, common carriers, materialmen,
custodians, public officers, mortgagees, pledges, assignees of rents, secured creditors, or agents.
Through these arrangements, the Debtors’ ownership interest is not affected. In light of the
movement of this property, providing a comprehensive list of the persons or entities in possession
of the property, their addresses and telephone numbers, and the location of any court proceeding
affecting such property would be impractical. The Debtors estimate that (a) the value of goods in
transit is approximately approximately $488 million; (b) the aggregate value of deposits held by
trade partners is approximately $2.1 million; and (c) the aggregate value of utilities provider
deposits, surety bonds, letters of credits, and other prepayment is approximately $26 million.
19-36300-cgm       Doc 22        Filed 08/06/19 Entered 08/06/19 11:30:50         Main Document
                                              Pg 59 of 66


                                              EXHIBIT I

   Summary of the Debtors’ Property From Which the Debtors Operate Their Business

        Pursuant to Local Rule 1007-2(a)(9), the following lists the location of the premises owned,
leased, or held under other arrangement from which the Debtors operates its business as of the
Petition Date.

         Property Address                     City          State         Country        Owned or
                                                                                          Leased

         660 Madison Avenue
                                           New York          NY          United States    Leased
         New York, NY 10065
           707 7th Avenue
                                           New York          NY          United States    Leased
         New York, NY 10011
         194 Atlantic Avenue
                                           New York          NY          United States    Leased
         New York, NY 11201
        9570 Wilshire Boulevard
                                          Beverly Hills      CA          United States    Leased
        Beverly Hills, CA 90212
            2 Stockton Street
                                          San Francisco      CA          United States    Leased
        San Francisco, CA 94108
           48 Stockton Street
                                          San Francisco      CA          United States    Leased
        San Francisco, CA 94108
          869 Americana Way
                                            Glendale         CA          United States    Leased
          Glendale, CA 91210
        395 Santa Monica Place
                                          Santa Monica       CA          United States    Leased
        Santa Monica, CA 90401
    189 The Grove Drive, Suite S-10
                                          Los Angeles        CA          United States    Leased
        Los Angeles, CA 90036
           15 East Oak Street
                                             Chicago         IL          United States    Leased
           Chicago, IL 60611
        100 Huntington Avenue
                                             Boston          MA          United States    Leased
          Boston, MA 02116
    3327 Las Vegas Boulevard South
                                           Las Vegas         NV          United States    Leased
         Las Vegas, NV 89109
            800 Pine Street
                                             Seattle         WA          United States    Leased
           Seattle, WA 98101
          1811 Walnut Street
                                           Philadelphia      PA          United States    Leased
        Philadelphia, PA 19103
  240 Hudson Valley District, Suite 240
                                          Central Valley     NY          United States    Leased
       Central Valley, NY 10971
    200 Tanger Mall Drive, Suite 912
                                            Riverhead        NY          United States    Leased
         Riverhead, NY 11901
    48650 Seminole Drive, Suite 128
                                            Cabazon          CA          United States    Leased
         Cabazon, CA 92230
   5620 Paseo Del Norte, Suite 100-D
                                            Carlsbad         CA          United States    Leased
         Carlsbad, CA 92008
19-36300-cgm        Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50    Main Document
                                             Pg 60 of 66


  850 East Ventura Boulevard, Suite 710
                                              Camarillo       CA   United States   Leased
          Camarillo, CA 93010
   2626 Livermore Outlets Drive, Suite
                 880                          Livermore       CA   United States   Leased
         Livermore, CA 94551
    94-790 Lumiaina Street, Suite 103
                                              Waipahu         HI   United States   Leased
          Waipahu, HI 96797
        5220 Fashion Outlets Way
                                              Rosemont        IL   United States   Leased
          Rosemont, IL 60018
  1840 Sawgrass Mills Circle, Unit #4100
                                               Sunrise        FL   United States   Leased
           Sunrise, FL 33323
           575 Fifth Avenue
                                              New York        NY   United States   Leased
          New York, NY 10017
           5-46 46th Avenue
                                           Long Island City   NY   United States   Leased
       Long Island City, NY 11101
            36-36 33rd Street
                                           Long Island City   NY   United States   Leased
       Long Island City, NY 11106
        1201 Valley Brook Avenue
                                              Lyndhurst       NJ   United States   Leased
           Lyndhurst, NJ 07071
            49 Geary Street
                                            San Francisco     CA   United States   Leased
        San Francisco, CA 94108
19-36300-cgm      Doc 22    Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                         Pg 61 of 66


                                           EXHIBIT J

             Location of the Debtors’ Substantial Assets, Books and Records,
         and Nature and Location of the Debtors’ Assets Outside the United States

       Pursuant to Local Rule 1007-2(a)(10), the following provides the location of the Debtors’
substantial assets, books and records, and the nature, location, and value of any assets held by the
Debtors outside the territorial limits of the United States as of the Petition Date.

       None.
19-36300-cgm       Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                            Pg 62 of 66


                                               EXHIBIT K

                        Summary of Legal Actions Against the Debtors

        Pursuant to Local Rule 1007-2(a)(11), the following lists material actions and proceedings
pending or threatened against the Debtors or its properties where a judgment against the Debtors
or a seizure of their property may be imminent as of the Petition Date. This list reflects actions or
proceedings considered material by the Debtors and, if necessary, will be supplemented in the
corresponding schedules to be filed by the Debtors in these chapter 11 cases.

          Entity               Counterparty            Nature of the Claim                Status

 Barney’s, Inc.             Corey Davis               Employment/wages           In Process

 Barney’s, Inc.             James Brereton            Employment / Wage          In Process

 Barney’s, Inc.             Robin Gesling             Employment / Wage          In Process

 Barney’s, Inc.             Marilyn Pawalek           Employment / Wage          In Process

 Barney’s, Inc.             Melvin Perez              Employment / Wage          In Process

 Barney’s, Inc.             Raymond Stauffer          Employment / Wage          In Process

 Barney’s, Inc.             Pacific Trail Attorneys   Employment / Wage          In Process

 Barney’s, Inc.             Mihaela Predescu          Employment / Wage          In Process

 Barney’s, Inc.             Elena Nacarino            Employment / Wage          In Process

 Barney’s, Inc.             Octavio Ayala             Employment / Wage          In Process

 Barney’s, Inc.             Shaye Grant               Employment / Wage          In Process

 Barney’s, Inc.             Kathleen Ortino           Employment / Wage          In Process

 Barney’s, Inc.             Daniel Moncada            ADA                        In Process

 Barney’s, Inc.             Kaitlin O’Connor          Employment / Wage          In Process

 Barney’s, Inc.             424 Group Wholesale,      Vendor non-payment Claim   In Process
                            Inc.
 Barney’s, Inc.             Masserano srl Strada      Vendor non-payment Claim   In Process
                            Cascina Cortella 70/a
                            13900 Biella and
                            Claudio Masserao
 Barney’s, Inc.             Ekipe Italia s.r.l.       Vendor non-payment Claim   In Process
19-36300-cgm      Doc 22      Filed 08/06/19 Entered 08/06/19 11:30:50               Main Document
                                           Pg 63 of 66


 Barney’s, Inc.            Villa Group Srl           Vendor non-payment Claim   In Process

 Barney’s, Inc.            Sergio Rossi USA, Inc.    Vendor non-payment Claim   In Process

 Barney’s, Inc.            Moynat                    Vendor non-payment Claim   In Process

 Barney’s, Inc.            Shi International Corp.   Vendor non-payment Claim   In Process

 Barney’s, Inc.            Ovative Group             Vendor non-payment Claim   In Process

 Barney’s, Inc.            17th Street Property      Vendor non-payment Claim   In Process
                           Owner LLC
 Barney’s, Inc.            CSS Building Services     Vendor non-payment Claim   In Process

 Barney’s, Inc.            Epsilon Data              Vendor non-payment Claim   In Process
                           Management, LLC
 Barney’s, Inc.            iProspect                 Vendor non-payment Claim   In Process

 Barney’s, Inc.            Nielsen                   Vendor non-payment Claim   In Process

 Barney’s, Inc.            Onward Luxury Group       Vendor non-payment Claim   In Process
                           Inc., Jil Sander USA
                           Inc., and La Maison
                           Moreau S.A.S.
 Barney’s, Inc.            Golden Goose              Vendor non-payment Claim   In Process
 Barney’s, Inc.            Nest                      Vendor non-payment Claim   In Process
 Barney’s, Inc.            One Security Group        Vendor non-payment Claim   In Process
 Barney’s, Inc.            Xposure Photo Agency,     Cease and desist           In Process
                           Inc.
 Barney’s, Inc.            Astrodeck Inc.            Cease and desist           In Process
 Barney’s, Inc.            Tish & Snooky's           Cease and desist           In Process
                           N.Y.C. d/b/a MANIC
                           PANIC®
 Barney’s, Inc.            The High End              Cease and desist           In Process
                           Management Company,
                           LLC
 Barney’s, Inc.            Juul Labs, Inc.           Cease and desist           In Process
 Barney’s, Inc.            Wes Lang                  Cease and desist           In Process
 Barney’s, Inc.            Heather E. Dempsey        Defective Merchandise      In Process
 Barney’s, Inc.            Paul Foote                Arbitration                In Process
 Barney’s, Inc.            Taisiya Jacobson          Small Claim                In Process
 Barney’s, Inc.            Amalgamated National      Health Fund Contribution   In Process
                           Health Fund
19-36300-cgm       Doc 22   Filed 08/06/19 Entered 08/06/19 11:30:50             Main Document
                                         Pg 64 of 66


                                           EXHIBIT L

                              The Debtors’ Senior Management

      Pursuant to Local Rule 1007-2(a)(12), the following provides the names of the individuals
who constitute the Debtors’ existing senior management, their tenure with the Debtors, and a brief
summary of their responsibilities and relevant experience as of the Petition Date.


     Name / Position          Relevant Experience / Responsibility                 Tenure

 Danielle Vitale             Daniella Vitale was appointed Barneys’          February 2017–Present
                             Chief Executive Officer and President in
                             February 2017. She has over twenty-five
                             years of experience working in the fashion
                             industry, with nearly ten years of experience
                             working for Barneys in various managerial
                             capacities.

 Sandro Risi                 Sandro Risi was appointed Barneys’ Chief        February 2017–Present
                             Financial Officer and Executive Vice
                             President in February 2017. He has nearly
                             twenty years of experience working in the
                             fashion industry, with twenty-five years of
                             relevant    financial    and     accounting
                             experience.

 Grace Fu                    Grace Fu was appointed Barneys’ Executive       February 2016–Present
                             Vice President of Human Resources,
                             General General Counsel, and Secretary in
                             February 2016. She has nearly a decade of
                             legal experience in all matters pertaining to
                             business, including labor and employment,
                             transactions, litigation, regulatory issues,
                             intellectual property, and others.
19-36300-cgm     Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50            Main Document
                                         Pg 65 of 66


                                          EXHIBIT M

                        The Debtors’ Payroll for the 30-Day Period
                  Following the Filing of the Debtors’ Chapter 11 Petitions

        Pursuant to Local Rules 1007-2(b)(1)-(2)(A) and (C), the following provides, for the
30-day period following the Petition Date, the estimated amount of weekly payroll to the Debtors’
employees (exclusive of officers, directors, and stockholders), the estimated amount paid and
proposed to be paid to officers, stockholders, and directors, and the amount paid or proposed to be
paid to financial and business consultants retained the Debtors.


                   Payments                                     Payment Amount

 Payments to employees (not including                                                $2.0 million
 officers, directors, and stockholders)
 Payments to officers, directors, and                                                   $532,500
 stockholders
 Payments to financial and business                                                            $0
 consultants
19-36300-cgm     Doc 22     Filed 08/06/19 Entered 08/06/19 11:30:50           Main Document
                                         Pg 66 of 66


                                          EXHIBIT N

               The Debtors’ Estimated Cash Receipts and Disbursements for
             the 30-Day Period Following the Filing of the Chapter 11 Petitions

       Pursuant to Local Rule 1007-2(b)(3), the following provides, for the 30-day period
following the Petition Date, the Debtors’ estimated cash receipts and disbursements, net cash gain
or loss, and obligations and receivables expected to accrue that remain unpaid, other than
professional fees.


                       Type                                           Amount

 Cash Receipts                                                                     $50 million
 Cash Disbursements                                                                $51 million
 Net Cash Loss                                                                      $1 million
 Unpaid Obligations (excluding professional fees)                    Approximately $94 million
 Unpaid Receivables (excluding professional fees                                 $13.9 million
